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         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY                                                                  Order Filed on May 7, 2025
                                                                                                 by Clerk
                                                                                                 U.S. Bankruptcy Court
         In re:                                                                                  District of New Jersey

         NEW RITE AID, LLC, et al.,                                         Chapter 11

                                                     Debtors.1              Case No. 25-14861 (MBK)(Jointly Administered)


                  ORDER (I) APPROVING THE AUCTION AND BIDDING PROCEDURES,
                  (II) SCHEDULING CERTAIN DATES AND DEADLINES WITH RESPECT
                          THERETO, (III) APPROVING THE FORM AND MANNER
              OF NOTICE THEREOF, (IV) ESTABLISHING NOTICE AND PROCEDURES FOR
                  THE ASSUMPTION AND ASSIGNMENT OF CONTRACTS AND LEASES,
         (V) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF ASSUMED CONTRACTS,
           (VI) AUTHORIZING (A) THE SALE OF ASSETS AND (B) SHORTENED NOTICE WITH
                       RESPECT THERETO, AND (VII) GRANTING RELATED RELIEF

                  The relief set forth on the following pages, numbered three (3) through and including

     twenty-three (23), is ORDERED.




DATED: May 7, 2025




     1      The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
            Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
            website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
            The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
            chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
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                        (VI) Authorizing (A) the Sale of Assets and (B) Shortened Notice With
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 -and-

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 Proposed Co-Counsel to the Debtors and
 Debtors in Possession
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         Upon the Debtors’ Motion Seeking Entry of an Order (I) Approving the Auction and

 Bidding Procedures, (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III)

 Approving the Form and Manner of Notice Thereof, (IV) Establishing Notice and Procedures for

 the Assumption and Assignment of Contracts and Leases, (V) Authorizing the Assumption and

 Assignment of Assumed Contracts, (VI) Authorizing (A) the Sale of Assets and (B) Shortened

 Notice With Respect Thereto, and (VII) Granting Related Relief (the “Motion”),2 of the above-

 captioned debtors and debtors in possession (collectively, the “Debtors”), for entry of an order

 (this “Bidding Procedures Order”): (a) approving the proposed marketing, auction, and bidding

 procedures attached as Exhibit 1 to the Bidding Procedures Order (the “Bidding Procedures”), by

 which the Debtors may solicit and select the highest or otherwise best offer(s) for the sale or sales

 (each, a “Sale Transaction”) of all, substantially all, or any portion of the Debtors’ assets

 (collectively, the “Assets”); (b) establishing certain dates and deadlines related thereto and

 scheduling auctions, if needed, for the Sale Transactions (each, an “Auction”); (c) approving the

 manner of notice of the Auctions and the sale hearings (each, a “Sale Hearing”) as may be

 necessary to approve the Sale Transactions; (d) approving procedures for the assumption and

 assignment of certain executory contracts and unexpired leases of nonresidential real property

 (collectively, the “Contracts”) that are selected for assumption and assignment (the “Assumed


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
     Bidding Procedures, as applicable.
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 Contracts”) in connection with the Sale Transactions, if any; (e) approving the Debtors’ use of

 certain forms of notice with respect to the Bidding Procedures, substantially in the forms attached

 to the Bidding Procedures as Schedule 1 and Schedule 2; (f) providing that, in light of the fact that

 the Debtors assert that the Debtors’ Privacy Policies do not prohibit the transfer of personal

 identifiable information, the appointment of a consumer privacy ombudsman is not required at this

 time; provided, that, parties in interest, including the U.S. Trustee and any statutory committees

 appointed in these cases, may seek the appointment of a consumer privacy ombudsman at a later

 date in connection with any proposed Sales Transactions; (g) scheduling a final hearing to consider

 approval of the Motion on a final basis solely with respect to the Remaining Assets; and (h)

 granting related relief, all as more fully set forth in the Motion; and upon the First Day Declaration;

 the Rifkin Declaration; and the Frejka Declaration filed in support of the Motion; and the Court

 having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

 §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of

 the United States District Court for the District of New Jersey, entered July 23, 1984, and amended

 on September 18, 2012 (Simandle, C.J.); and this Court having found that venue of this proceeding

 and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

 having found that the Debtors’ notice of the Motion was appropriate under the circumstances and

 no other notice need be provided; and this Court having reviewed the Motion, the First Day

 Declaration, the Rifkin Declaration and the Frejka Declaration, and having heard the statements in
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 support of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court

 having determined that the legal and factual bases set forth in the Motion establish just cause for

 the relief granted herein; and upon all of the proceedings had before the Court and after due

 deliberation and sufficient cause appearing therefor IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED on a final basis with respect to the Pharmacy Assets

 and an interim basis with respect to the Remaining Assets.

        2.      The final hearing (the “Final Hearing”) on the Motion solely with respect to the

 Remaining Assets (the “Remaining Assets Motion”) will be held on May 21, 2025 at

 11:30 a.m. (Eastern Time). Objections, if any, that relate to the Remaining Assets Motion shall be

 filed and served so as to be actually received by the following parties on or before May 19, 2025

 at 4:00 p.m. (Eastern Time): (a) the Debtors, New Rite Aid, LLC, 200 Newberry Commons, Etters,

 Pennsylvania 17319, Attn: David Kastin (David.Kastin@riteaid.com); (b) proposed co-counsel to

 the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main Street, Hackensack, New Jersey 07601,

 Attn: Michael D. Sirota, Esq. (msirota@coleschotz.com), Warren A. Usatine, Esq.

 (wusatine@coleschotz.com), Felice Yudkin (fyudkin@coleschotz.com), and Seth Van Aalten,

 Esq. (svanaalten@coleschotz.com), and Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 6th

 Avenue, New York, NY 10019, Attn: Andrew N. Rosenberg (arosenberg@paulweiss.com), Alice

 Belisle Eaton (aeaton@paulweiss.com), Christopher Hopkins (chopkins@paulweiss.com), and

 Sean A. Mitchell (smitchell@paulweiss.com); (c) the United States Trustee for the District of New
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 Jersey, Attn: Jeffrey M. Sponder and Lauren Bielskie, One Newark Center, Suite 2100, Newark,

 NJ 07102; (d) counsel to any statutory committee appointed in these chapter 11 cases; and (e)

 counsel to the Prepetition ABL Agent and the DIP Agent, Choate, Hall & Stewart LLP, Two

 International Place, Boston, MA 02110, Attn: John F. Ventola (jventola@choate.com), Jonathan

 D. Marshall (jmarshall@choate.com), and Mark D. Silva (msilva@choate.com) and Greenberg

 Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park, NJ 07932, Attn: Alan J. Brody

 (brodya@gtlaw.com) and Julia Frost-Davies (julia.frostdavies@gtlaw.com). If no objections are

 filed to the Remaining Assets Motion, the Court may enter an order approving the relief requested

 in the Remaining Assets Motion on a final basis (the “Final Order”) without further notice or

 hearing.

        3.      The Debtors have articulated good and sufficient reasons for authorizing and

 approving the Bidding Procedures, which are fair, reasonable, and appropriate under the

 circumstances and in the best interests of the Debtors’ estates.

        4.      The Debtors’ notice of the Motion and the Hearing was adequate and sufficient

 under the circumstances of these chapter 11 cases, and no other or further notice is required.

        5.      All objections to the relief requested in the Motion that have not been withdrawn,

 waived, or settled prior to or at the Hearing are overruled.
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 I.       Important Dates and Deadlines.

          6.       Pharmacy Assets Bid Deadline. May 13, 2025, at 6:00 a.m., prevailing Eastern

 Time, is the deadline by which all Qualified Bids for the Pharmacy Assets must be actually

 received by the parties specified in the Bidding Procedures.

          7.       Remaining Assets Bid Deadline. Subject to entry of the Final Order, June 13,

 2025, at 5:00 p.m., prevailing Eastern Time, is the deadline by which all Qualified Bids for the

 Remaining Assets must be actually received by the parties specified in the Bidding Procedures.

          8.       Auctions. The Pharmacy Assets Auction, if needed, shall commence on May 14,

 2025, at 9:00 a.m. prevailing Eastern Time, or such later time as the Debtors determine in

 consultation with the Consultation Parties.3 Subject to entry of the Final Order, the Remaining

 Assets Auction, if needed, shall commence on June 20, 2025, at 9:00 a.m. prevailing Eastern Time,

 or such later time as the Debtors determine in consultation with the Consultation Parties.

          9.       The Debtors, in consultation with the Consultation Parties, reserve the right to

 cancel or adjourn the applicable Auction with respect to any particular Assets at any time. The



      3 “Consultation Parties” shall mean counsel to (i) the Prepetition ABL Agent and the DIP Agent (each, an

      “Agent”), (ii) an ad hoc group of certain secured notes (the “Ad Hoc Group”), and (iii) any statutory committees
      appointed in these cases; provided, however, that to the extent any Agent or the Ad Hoc Group (or any members
      thereof) submits a bid for any Pharmacy Assets and/or Remaining Assets, such Agent or the Ad Hoc Group shall
      not be a Consultation Party with respect to (a) the evaluation and qualification of competing bids for the Pharmacy
      Assets and/or the Remaining Assets included in such bid or (b) seeking and/or obtaining information about other
      bids, but such Agent and the Ad Hoc Group shall remain a Consultation Party for the other purposes set forth
      herein.
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 Debtors will notify any applicable Qualified Bidders of the cancellation or adjournment of the

 Auctions for any Assets subject to their Bids (which may occur at the commencement of or during

 the Auction). Notwithstanding anything to the contrary in the Bidding Procedures, the Debtors

 may, in their business judgment, in consultation with the Consultation Parties, after the applicable

 Bid Deadline, select a Successful Bidder for any of the Assets without holding an Auction for such

 Assets. The Debtors will include any such Successful Bidder(s) in the Notice of Successful

 Bidder(s) filed after the conclusion of the Pharmacy Assets Auction or the Remaining Assets

 Auction, as applicable (or the filing of a notice of cancellation of the applicable Auction is

 cancelled with respect to all Assets).

        10.     Except as otherwise determined by the Debtors, in consultation with the

 Consultation Parties, only the Debtors, the Consultation Parties, the U.S. Trustee, any applicable

 Qualified Bidders, and, in each case, the respective representatives and professionals of the

 foregoing parties, shall be entitled to participate in each Auction, and only Qualified Bidders will

 be entitled to make Overbids (as defined in the Bidding Procedures) at each Auction. The Debtors

 shall send written notice of the date, time, and place of each Auction to the applicable Qualified

 Bidders, the Consultation Parties, and the U.S. Trustee no later than two business days before such

 Auction, and will post notice of the date, time, and place of such Auction no later than two business

 days     before      such      Auction      on     the      Debtors’      restructuring     website:
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 https://restructuring.ra.kroll.com/RiteAid2025. The Debtors may also conduct multiple Auctions

 with respect to non-overlapping portions of the Assets.

        11.     At or following an Auction, the Debtors may, in consultation with the advisors to

 the Consultation Parties: (a) select, in their business judgment, pursuant to the Bidding Procedures,

 the highest or otherwise best Qualified Bid as the Successful Bid; and (b) reject any Bid (regardless

 of whether such Bid is a Qualified Bid) that, in such Debtor’s business judgment, is (i) inadequate,

 insufficient, or not the highest or otherwise best Bid, (ii) not in conformity with the requirements

 of the Bankruptcy Code, the Bankruptcy Rules, or the Bidding Procedures, or (iii) contrary to, or

 otherwise not in the best interests of the Debtors’ estates, affected stakeholders, or other parties in

 interest, in each case subject to and in accordance with the Bidding Procedures. No Debtor is

 required to name a Successful Bidder for any given Asset or group thereof and may elect to not

 sell such Asset(s) to the highest or otherwise best bidder.

        12.     Notice of Successful Bidder. If any Successful Bidder is identified at an Auction,

 as soon as reasonably practicable upon conclusion of the applicable Auction but not later than

 three calendar days, the Debtors shall file with the Court and serve on the Notice Parties a Notice

 of Successful Bidder for the applicable Assets.

        13.     Sale Order Deadlines. The Debtors shall file a proposed form of Sale Order for

 the Sale Transactions no later than May 9, 2025. The proposed Sale Order for the Pharmacy

 Assets, if any, must be filed by May 16, 2025 at 5:00 p.m., prevailing Eastern Time. Subject to
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 entry of the Final Order, the proposed Sale Order for the Remaining Assets, if any, must be filed

 by June 21, 2025 at 5:00 p.m., prevailing Eastern Time.

        14.     Sale Objection Deadlines. Objections to the Sale of the Pharmacy Assets, if any,

 must be made by May 19, 2025 at 5:00 p.m., prevailing Eastern Time. Subject to entry of the Final

 Order, objections to the Sale of the Remaining Assets, if any, must be made by June 24, 2025 at

 5:00 p.m., prevailing Eastern Time.

        15.     Sale Hearings. May 21, 2025, at a time to be determined by this Court, or as soon

 thereafter as the Debtors may be heard, is the date and time for the hearing for the Court to consider

 the Successful Bid or Successful Bids of the Pharmacy Assets, if needed. Subject to entry of the

 Final Order, June 25, 2025, at a time to be determined by this Court, or as soon thereafter as the

 Debtors may be heard, is the date and time for the hearing for the Court to consider the Successful

 Bid or Successful Bids of the Remaining Assets, if needed.

 II.    Auction, Bidding Procedures, Auction and Sale Hearing Notice, and Related Relief.

        16.     The Bidding Procedures, substantially in the form attached hereto as Exhibit 1, are

 incorporated herein and are hereby approved in their entirety, and the Bidding Procedures shall

 govern the submission, receipt, and analysis of all Bids relating to any proposed Sale Transaction.

 Any party desiring to submit a Bid shall comply with the Bidding Procedures and this Bidding

 Procedures Order. The Debtors are authorized to take any and all actions necessary to implement

 the Bidding Procedures.      Subject to the terms of the Bidding Procedures, the Debtors, in
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 consultation with the Consultation Parties, may modify the Bidding Procedures or waive any

 provision or requirement therein as necessary or appropriate to maximize value for their estates.

        17.       Any deposit (including any Good Faith Deposit) provided by a Qualified Bidder

 shall be held in escrow by the Debtors or their agent, and shall not become property of the Debtors’

 bankruptcy estates unless and until released from escrow to the Debtors pursuant to the terms of

 the applicable escrow agreement, the Bidding Procedures, or order of this Court, as applicable.

        18.       The Auction and Sale Hearing Notice, substantially in the form attached as

 Schedule 1 to the Bidding Procedures, is hereby approved. The form and manner of the notice of

 Auction and Sale Hearing Notice constitutes good and adequate notice of the Auctions and the

 Sale Hearings, and the proceedings with respect thereto.                      The applicable requirements of

 Bankruptcy Rule 2002 are satisfied by such notice or otherwise waived.

        19.       As soon as reasonably practicable but not later than three (3) calendar days

 following entry of the Bidding Procedures Order, the Debtors will cause the Auction and Sale

 Hearing Notice to be served upon the Notice Parties.4


    4 “Notice Parties” means (a) the office of the United States Trustee for the District of New Jersey; (b) the Debtors’

    50 largest unsecured creditors (on a consolidated basis); (c) the Prepetition ABL Agent and counsel thereto; (d)
    the DIP Agent and counsel thereto; (e) the trustees for the Senior Secured Notes and counsel thereto; (f) the United
    States Attorney’s Office for the District of New Jersey; (g) the Internal Revenue Service; (h) the U.S. Securities
    and Exchange Commission; (i) the attorneys general in the states where the Debtors conduct their business
    operations; (j) all parties who have expressed a written interest in purchasing some or all of the Assets; (k) any
    known Assumed Contract Counterparties; (k) all known holders of Encumbrances; (l) each governmental agency
    that is an interested party with respect to the Sale Transactions; (m) each of the Debtors’ landlords; (n) McKesson;
    and (o) any party that has requested notice pursuant to Bankruptcy Rule 2002.
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        20.     Pursuant to Local Rule 6004-2(c)(2): (a) each bidder participating at an Auction

 shall be required to confirm that it has not engaged in any collusion with respect to the bidding or

 the Sale, as set forth in the Bidding Procedures; (b) each Auction shall be conducted openly; and

 (c) each Auction shall be documented, recorded, or videotaped.

 III.   Assumption and Assignment Procedures.

        21.     The procedures set forth below regarding the assumption and assignment of the

 Contracts proposed to be assumed by the Debtors pursuant to section 365(b) of the Bankruptcy

 Code and assigned to the Successful Bidder, if any, pursuant to section 365(f) of the Bankruptcy

 Code in connection with the Sale Transactions are hereby approved to the extent set forth herein.

        22.     These Assumption and Assignment Procedures shall govern the assumption and

 assignment of all of the Debtors’ Contracts to be assumed and assigned in connection with any

 Sale Transaction(s) under any asset purchase agreement approved hereby, subject to any contract

 designation rights set forth in any purchase agreement (which shall comply with these Assumption

 and Assignment Procedures) and the payment of any amount necessary to satisfy all defaults and

 actual pecuniary loss to the counterparty resulting from such defaults including, but not limited to,

 all claims, demands, charges, rights to refunds and monetary and non-monetary obligations that

 the relevant counterparty can assert under a Contract, whether legal or equitable, secured or

 unsecured, matured or unmatured, contingent or non-contingent, liquidated or unliquidated, senior

 or subordinate, relating to money now owing or owing in the future, arising under or out of, in
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 connection with, or in any way relating to a Contract (the foregoing amounts as stated in the

 Contract Assumption Notice, the “Cure Payments”):

               (a)    Contract Assumption Notice. As soon as reasonably practicable but not
                      less than three (3) calendar days following the conclusion of an Auction, if
                      any, or the filing of a Notice of Successful Bidder (the “Assumption and
                      Assignment Service Deadline”), the Debtors shall serve a notice of
                      contracts proposed to be assumed and assigned to any Successful Bidder, to
                      the extent known by the Debtors and the applicable Successful Bidder (the
                      “Contract Assumption Notice”), in substantially the form attached to the
                      Bidding Procedures as Schedule 2 via first class mail on each applicable
                      Assumed Contract Counterparty at the notice addresses set forth in the
                      applicable Contract and on their counsel of record via email, each to the
                      extent known, and provide a copy of the same to the Consultation Parties.
                      The Contract Assumption Notice, with respect to the assumption and
                      assignment of Contracts, shall inform each recipient of the timing and
                      procedures relating to such assumption and assignment, and, to the extent
                      applicable, (i) the title of the Contract, (ii) the name of the counterparty to
                      the Contract, (iii) the Debtors’ good faith estimates of the Cure Payments,
                      if any, required in connection with the Contract, and (iv) the applicable
                      objection deadline; provided, however, that service of a Contract
                      Assumption Notice does not constitute an admission that any Contract listed
                      thereon is an executory contract or that such stated Cure Payment
                      constitutes a claim against the Debtors or a right against any Successful
                      Bidder, all rights with respect thereto being expressly reserved. Further, the
                      inclusion of a contract on the Contract Assumption Notice is not a guarantee
                      that such contract will ultimately be assumed and assigned.

               (b)    Cure Payments. Except to the extent a timely objection is filed in
                      accordance with paragraph 22(d), below, the payment of the applicable
                      Cure Payments by the Debtors and/or the Successful Bidder, as applicable,
                      shall (i) effect a cure of all defaults existing thereunder, (ii) compensate for
                      any actual pecuniary loss to such counterparty resulting from such default,
                      and (iii) together with the assumption of the ultimately assumed Contract
                      by the Debtors and the assignment of such Contract to the Successful
                      Bidder, constitute adequate assurance of future performance thereof.
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                     (V) Authorizing the Assumption and Assignment of Assumed Contracts,
                     (VI) Authorizing (A) the Sale of Assets and (B) Shortened Notice With
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               (c)   Supplemental Contract Assumption Notice. To the extent the Debtors,
                     at any time after the Assumption and Assignment Service Deadline
                     (i) identify additional Contracts that may be assumed by and assigned to the
                     Successful Bidder, (ii) remove any Contracts from the list attached to the
                     Contract Assumption Notice, (iii) and/or modify the previously stated Cure
                     Payment associated with any Contract, the Debtors will promptly file with
                     this Court and serve by first-class mail a supplemental notice of contract
                     assumption (a “Supplemental Assumption Notice”) on each of the Assumed
                     Contract Counterparties affected by the Supplemental Assumption Notice.
                     Each Supplemental Assumption Notice will include the same information
                     with respect to listed Contracts as was included in the Contract Assumption
                     Notice. A Successful Bidder may designate additional Contracts to be
                     assumed and assigned up to two business days prior to closing and may
                     remove Contracts from the list of Contracts up to two business days prior to
                     closing or in accordance with any Successful Bid; provided, however, the
                     Debtors may not add an executory contract or unexpired lease to the list of
                     Assumed Contracts (i) after the deadline for the Debtors to assume or reject
                     leases pursuant to section 365(d)(4) of the Bankruptcy Code (as may be
                     extended); and (ii) that has been previously rejected by the Debtors by order
                     of the Court.

               (d)   Objections. Objections, if any, to the proposed assumption and assignment
                     of any Contract, adequate assurance of the Successful Bidder’s ability to
                     perform under any Contract, or the Cure Payment proposed with respect
                     thereto, must (i) be in writing, (ii) comply with the applicable provisions of
                     the Bankruptcy Rules, and the Bankruptcy Local Rules, (iii) state with
                     specificity the nature of the objection and, if the objection pertains to the
                     proposed Cure Payment, state the correct Cure Payment alleged by the
                     objecting counterparty, together with any applicable and appropriate
                     documentation in support thereof, and (iv) be filed with the Court and
                     served upon (collectively, the “Objection Notice Parties”) (a) the Bid
                     Notice Parties (as defined in the Bidding Procedures), (b) the Office of the
                     United States Trustee for the District of New Jersey, (c) counsel to any
                     official committees of unsecured creditors appointed in these chapter 11
                     cases, (d) the applicable Successful Bidder(s), if known, and (e) any other
                     party that has filed a notice of appearance in these chapter 11 cases, so as
                     actually to be received on or before the objection deadline set forth in the
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                     Contract Assumption Notice or Supplemental Assumption Notice, as
                     applicable, which objection deadline shall apply to every Contract proposed
                     to be assumed and assigned in accordance with these Assumption and
                     Assignment Procedures and shall be no less than fourteen (14) calendar days
                     after the Contract Assumption Notice or Supplemental Assumption Notice,
                     as applicable, is served.

               (e)   No Objection: If no Objection to the proposed assumption and assignment
                     of any Assumed Contract is timely filed, each Assumed Contract shall be
                     assumed as of the date set forth in the applicable Contract Assumption
                     Notice or such other date as the Debtors, the Proposed Assignee, and the
                     applicable Assumed Contract Counterparties agree, and the Cure Payment
                     shall be binding, as applicable, on the Debtors, the Proposed Assignee, and
                     the Assumed Contract Counterparties and no amount in excess thereof shall
                     be paid for cure purposes; provided, however that the assignment date for
                     an Assumed Contract shall not occur earlier than the date the Debtors filed
                     and served the applicable Contract Assumption Notice.

               (f)   Dispute Resolution. In the event that the Debtors and an Assumed Contract
                     Counterparty cannot resolve an objection to a Cure Payment, the Contract
                     at issue may be assumed by the Debtors and assigned to the Successful
                     Bidder, provided that the Debtors shall segregate the Cure Payment that the
                     Assumed Contract Counterparty asserts is required to be paid, pending a
                     resolution of the dispute by the Court or mutual agreement by the parties.
                     Any objection to the proposed assumption and assignment of a Contract or
                     related Cure Payment proposed in connection with the Sale Transactions
                     that remains unresolved as of the applicable Sale Hearing, shall be heard at
                     such Sale Hearing (or at a later date as fixed by the Court); provided, further
                     that, with respect to any Contracts that are leases of real property, absent the
                     consent of the Debtors and the Assumed Contract Counterparty, the
                     Successful Bidder may not take possession of the leased premises or operate
                     the business thereon prior to the assumption and assignment of the Contract.

               (g)   Contract Assumption. Except as set forth pursuant to paragraph 22(f)
                     above, no Contract shall be deemed assumed and assigned pursuant to
                     section 365 of the Bankruptcy Code until the later of (i) the date the Court
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                       has entered an order assuming and assigning such Contract or (ii) the date
                       the applicable Sale Transaction has closed.

        23.     Any party failing to timely file an objection to the Cure Payments, adequate

 assurance of future performance, or the proposed assumption and assignment of a Contract is

 deemed to have consented to (a) such Cure Payment, (b) the assumption and assignment of such

 Contract, (c) the related relief requested in the Motion, (d) adequate assurance of future

 performance, and (e) the Sale Transactions. Such party shall be forever barred and estopped from

 objecting to the Cure Payments, the assumption and assignment of the Contract, adequate

 assurance of future performance, the relief requested in the Motion, whether or not applicable law

 excuses such counterparty from accepting performance by, or rendering performance to, the

 Successful Bidder for purposes of section 365(c)(1) of the Bankruptcy Code and from asserting

 any additional cure or other amounts against the Debtors and the Successful Bidder with respect

 to such party’s Contract.

        24.     To the extent the Debtors seek to assume and assign a Contract in connection with

 a Sale Transaction, the Debtors shall, at the request of the Assumed Contract Counterparty,

 promptly provide evidence to such Assumed Contract Counterparty that the Proposed Assignee of

 the Contract has the ability to comply with the requirements of adequate assurance of future

 performance; provided that any such evidence that constitutes nonpublic information shall be

 provided on a confidential basis. All Bidders are deemed to consent to the transmission of such
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                         (VI) Authorizing (A) the Sale of Assets and (B) Shortened Notice With
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 evidence of adequate assurances of future performance on a confidential basis to counsel for the

 Assumed Contract Counterparties via email with such information to be used only for purpose of

 assessing the applicable Bidder and objecting to adequate assurance; provided, that any such

 Assumed Contract Counterparty shall use reasonable efforts to maintain the confidentiality of such

 information, including by filing the relevant portions of such objection under seal.

 IV.    Miscellaneous.

        25.       Nothing in this Bidding Procedures Order or the Bidding Procedures shall be

 deemed a waiver of any rights, remedies, or defenses that any party (including the sureties, the

 Debtors, the Debtors’ lenders, and the agents under their respective credit agreements, or any other

 prospective purchaser) has or may have under applicable bankruptcy and non-bankruptcy law,

 under any indemnity agreements, surety bonds or related agreements or any letters of credit

 relating thereto, or any rights, remedies, or defenses of the Debtors with respect thereto, including

 seeking Bankruptcy Court relief with regard to the Auctions, the Bidding Procedures, the Sale

 Transactions, and any related items (including, if necessary, to seek an extension of the applicable

 Bid Deadline).

        26.       The Debtors assert that any Sales Transactions are consistent with the Debtors’

 privacy policies, and, as such, are authorized to conduct such Sales Transactions without the

 appointment of a consumer privacy ombudsman. However, nothing contained in this Bidding

 Procedures Order prejudices parties in interest, including the U.S. Trustee and any statutory
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 committees appointed in these cases, from seeking the appointment of a consumer privacy

 ombudsman at a later date in connection with any proposed Sales Transactions.

        27.     The failure to include or reference a particular provision of the Bidding Procedures

 in this Bidding Procedures Order shall not diminish or impair the effectiveness or enforceability

 of such a provision in the Bidding Procedures.

        28.     The Court, at the request of the Debtors in consultation with the Consultation

 Parties and subject to the Court’s availability, may modify the dates of and adjourn any hearing

 set by this Bidding Procedures Order without further Order of this Court, provided that the Debtors

 will serve notice to all requisite parties informing them of such modification.

        29.     The Debtors, in consultation with the Consultation Parties, may modify any of the

 deadlines set forth in the Sale Schedules or provide for additional deadlines within the Sale

 Schedules; provided that the Debtors will disclose all applicable deadlines in a supplemental

 Auction and Sale Hearing Notice. The Debtors, in consultation with the Consultation Parties, are

 further authorized, but not directed, to conduct multiple Sale Transactions and/or Auctions (as

 necessary) in substantial conformity with the Sale Schedules and Bidding Procedures established

 through this Bidding Procedures Order.

        30.     The Debtors may modify any Good Faith Deposit, in consultation with the

 Consultation Parties, as necessary or appropriate, in their business judgment.
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                          (VI) Authorizing (A) the Sale of Assets and (B) Shortened Notice With
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         31.      Nothing in this Bidding Procedures Order or the Bidding Procedures shall prevent

 the Debtors from seeking authority to sell any Assets pursuant to any other motion or order entered

 by this Court, including any orders authorizing the relief requested in the Location Closing Motion

 as such term is defined in the Motion, or the Debtors' Motion for Entry of an Order (I) Establishing

 Procedures for the Sale of Certain Leases, (II) Approving the Sale of Certain Leases, and

 (III) Granting Related Relief.

         32.      In the event of any inconsistencies between this Bidding Procedures Order and the

 Motion and/or the Bidding Procedures, this Bidding Procedures Order shall govern in all respects.

         33.      Any      Transaction        Fee5      due      to     Guggenheim          Securities,      LLC

 (“Guggenheim Securities”) as a result of the closing of any Sale Transaction shall be segregated

 and escrowed (for the exclusive benefit of Guggenheim Securities) in the Debtors’ or their agents’

 bank accounts from the proceeds of such Sale Transaction (including, without limitation, from the

 proceeds of any liquidation or other disposition of the Debtors’ assets), as an express carve-out

 from the collateral of the Debtors’ pre- and post-petition secured lenders, prior to any other use or

 distribution of such proceeds. If any Sale Transaction is the result of a successful bid without a

 cash component sufficient to pay the corresponding Transaction Fee due to Guggenheim Securities


 5   Capitalized terms used in this paragraph and not otherwise defined herein shall have the meanings ascribed to
     such terms in that certain amended and restated engagement letter between Guggenheim Securities and the
     Debtors, dated as of May 5, 2025, a copy of which will be filed in connection with the Debtors’ application to
     retain Guggenheim Securities, LLC.
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 in full, then any resulting unpaid portion of the Transaction Fee due to Guggenheim Securities

 shall be segregated and escrowed (for the exclusive benefit of Guggenheim Securities) at the

 closing of such Sale Transaction from the available cash of the Debtors, as an express carve-out

 from the collateral of the Debtors’ pre- and post-petition secured lenders. Nothing in this Bidding

 Procedures Order shall prohibit or be construed to prohibit the use of any unencumbered assets of

 the Debtors or the proceeds thereof to pay any fees and expenses of Guggenheim Securities or the

 assertion or allowance of an administrative priority claim under sections 503(b)(2) and 507(a)(2)

 of the Bankruptcy Code, if applicable, on account of any fees or expenses of Guggenheim

 Securities. Notwithstanding anything to the contrary set forth herein, the requirements and

 obligations contained in this paragraph 33 to pay Guggenheim Securities any such Transaction Fee

 on account of such Sale Transaction shall be subject in all respects to entry of a final order of this

 Court authorizing the retention of Guggenheim Securities as investment banker to the Debtors

 (the “Guggenheim Securities Retention Order”) and the terms of the Guggenheim Securities

 Retention Order, and the entry of an order by the Court approving any such fees including the

 Transaction Fee. The U.S. Trustee reserves all rights to object to such fees including the

 Transaction Fee pursuant to 11 U.S.C. § 330.

        34.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Bidding Procedures Order in accordance with the Motion.
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        35.     The Debtors have demonstrated that without the approval of the Bidding

 Procedures and the timelines contemplated therein, the Debtors’ businesses will deteriorate to the

 detriment of all stakeholders, including the Debtors' creditors and its customers. Further, such

 harm cannot not be redressed by a legal or equity remedy. Accordingly, the Debtors have

 demonstrated that the requested relief is “necessary to avoid immediate and irreparable harm,” as

 contemplated by Bankruptcy Rule 6003(a).

        36.     Notwithstanding Bankruptcy Rule 6004(h) and 6006(d), to the extent applicable,

 this Bidding Procedures Order shall be effective and enforceable immediately upon entry hereof.

        37.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

 of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

 by such notice.

        38.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        39.     Any party may move for modification of this Bidding Procedures Order in

 accordance with Local Rule 9013-5(e).

        40.     The Debtors shall serve a copy of this Bidding Procedures Order and the Motion

 on all parties required to receive such service pursuant to Local Rule 9013-5(f).
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        41.    This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Bidding Procedures Order.
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                                   Exhibit 1

                              Bidding Procedures
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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 NEW RITE AID, LLC, et al.,                                   Case No. 25-14861 (MBK)

                                     Debtors.1                (Jointly Administered)




                           BIDDING PROCEDURES FOR THE
                    SUBMISSION, RECEIPT, AND ANALYSIS OF BIDS IN
                 CONNECTION WITH THE SALE OF THE DEBTORS’ ASSETS

         On May 5, 2025 (the “Petition Date”), each of the above-captioned debtors and debtors in
 possession (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title
 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the United
 States Bankruptcy Court for the District of New Jersey (the “Court”).

        On May 6, 2025, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Approving
 the Auction and Bidding Procedures, (II) Scheduling Certain Dates and Deadlines with Respect
 Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Establishing Notice and
 Procedures for the Assumption and Assignment of Contracts and Leases, (V) Authorizing the
 Assumption and Assignment of Assumed Contracts, (VI) Authorizing (A) the Sale of Assets and
 (B) Shortened Notice with Respect Thereto, and (VII) Granting Related Relief [Docket No. 17]
 (the “Bidding Procedures Motion”), seeking approval of, among other things, the procedures
 contained herein (as modified from time to time, the “Bidding Procedures”).

         On [●], 2025, the Court entered the Order (I) Approving the Auction and Bidding
 Procedures, (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving
 the Form and Manner of Notice Thereof, (IV) Establishing Notice and Procedures for the
 Assumption and Assignment of Contracts and Leases, (V) Authorizing the Assumption and
 Assignment of Assumed Contracts, (VI) Authorizing (A) the Sale of Assets and (B) Shortened
 Notice with Respect Thereto, and (VII) Granting Related Relief [Docket No. [●]]
 (the “Bidding Procedures Order”),2 by which the Court approved these Bidding Procedures on a
 final basis with respect to the Pharmacy Assets and on an interim basis with respect to the
 Remaining Assets, with a final hearing on these Bidding Procedures with respect to the Remaining
 Assets scheduled for May 21, 2025 at 11:30 a.m. (prevailing Eastern Time) (as may be

 1    The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
      The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
 2    All capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Bidding
      Procedures Motion, the Bidding Procedures Order, or the First Day Declaration, as applicable.
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 adjourned in accordance with the Bidding Procedures Order). These Bidding Procedures set forth
 the process by which the Debtors are authorized to solicit bids for and conduct an auction (the
 “Auction”) for a sale or disposition of all, any portion of, or substantially all of the Assets
 (collectively, the “Sale,” and each, a “Sale Transaction”).

        Any Sale will be implemented pursuant to section 363 of the Bankruptcy Code or a chapter
 11 plan (as modified, amended, or supplemented from time to time, the “Plan”).

 Copies of the Bidding Procedures Order or any other documents in the Debtors’ chapter 11 cases
 are available upon request to Kroll Restructuring Administration LLC by calling (888) 575-9318
 (toll free) or +1 (646) 930-4577 (international) or visiting the Debtors’ restructuring website at
 (https://restructuring.ra.kroll.com/RiteAid2025).

 I.        Assets to be Auctioned.

         1.      The Debtors are seeking to sell all of their assets, or any portion thereof, either as a
 going-concern or otherwise. These assets include, in each case, free and clear of all liens, claims,
 interests, or other encumbrances to the greatest extent permitted by the Bankruptcy Code and
 applicable non-bankruptcy law:

           a.        the Debtors’ prescription files (and related records), pharmacy inventory, and any
                     assets related to or requested to be acquired in connection with the foregoing
                     (including, without limitation, unexpired leases and other real and personal
                     property associated with the sale of any retail pharmacy locations on a going
                     concern basis) (collectively, the “Pharmacy Assets”); and

           b.        all of the Debtors’ assets that are not Pharmacy Assets, including intellectual
                     property, the Thrifty Ice Cream business and related assets, various technology and
                     software assets, including proprietary pharmacy management software (i.e.,
                     NexGen), the central prescription fill facility, other real and personal property,
                     unexpired leases, executory contracts, equipment, inventory, supplies, insurance
                     proceeds, prepaid expenses and deposits, and books and records
                     (collectively, the “Other Assets”, and together with the Pharmacy Assets,
                     the “Assets”).

        2.      Any Pharmacy Assets that are not sold pursuant to the auction for the Pharmacy
 Assets (as described below) are referred to herein as the “Remaining Pharmacy Assets”, and
 together with the Other Assets, as the “Remaining Assets.”

 II.       Public Announcement of Auctions and Sale Hearings.

        3.      Within three (3) calendar days after entry of the Bidding Procedures Order, the
 Debtors shall (a) serve on the Notice Parties3 (i) a notice setting forth (1) the date, time, and place

 3     “Notice Parties” include (a) the office of the United States Trustee for the District of New Jersey; (b) the Debtors’
       50 largest unsecured creditors (on a consolidated basis); (c) the Prepetition ABL Agent and counsel thereto;
       (d) the DIP Agent and counsel thereto; (e) the trustees for the Senior Secured Notes and counsel thereto; (f) the
       United States Attorney’s Office for the District of New Jersey; (g) the Internal Revenue Service; (h) the U.S.


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 of the (A) auctions for the Pharmacy Assets (the “Pharmacy Assets Auction”) and for the
 Remaining Assets (the “Remaining Assets Auction”) and (B) the Sale Hearings (as defined below)
 and (2) the deadlines and procedures for objecting to the proposed Sale Transactions, and (ii) the
 Bidding Procedures Order and these Bidding Procedures in the applicable form attached hereto as
 Schedule 1 (the “Auction and Sale Hearing Notice”), (b) within three (3) calendar days after entry
 of the Bidding Procedures Order, the Debtors shall seek to publish the above notice in The New
 York Times (National Edition) to any other potential interested parties, and (c) post the Auction
 and Sale Hearing Notice on their case website, https://restructuring.ra.kroll.com/RiteAid2025.
 The Auction and Sale Hearing Notice shall include a general description of the Assets for sale.

         4.      After the conclusion of the Pharmacy Assets Auction (or the cancellation of such
 auction and filing of the Notice of Successful Bidder(s)) with respect to some or all of the
 Pharmacy Assets), the Debtors shall (i) serve on the Notice Parties a supplemental notice setting
 forth (1) an updated description of the Remaining Assets, including any Remaining Pharmacy
 Assets not sold following the conclusion of the Pharmacy Assets Auction, (2) the date and time of
 the Bid Deadline, the Auction, and the Sale Hearing with respect to the Remaining Assets, and
 (3) the deadlines and procedures for objecting to the proposed Sale(s) of the Remaining Assets
 (the “Notice of Remaining Assets”) and (ii) post such Notice of Remaining Assets on their case
 website, https://restructuring.ra.kroll.com/RiteAid2025.

 III.       Potential Bidder Requirements.

         5.      To participate in the bidding process or otherwise be considered for any purpose
 hereunder, including to receive access to due diligence materials, a person or entity interested in
 purchasing the Assets or part of the Assets (a “Potential Bidder”) must deliver or have previously
 delivered to (a) proposed co-counsel to the Debtors, Paul, Weiss, Rifkind, Wharton & Garrison
 LLP, 1285 Avenue of the Americas, New York, New York 10019, Attn: Andrew N. Rosenberg
 (arosenberg@paulweiss.com), Alice Belisle Eaton (aeaton@paulweiss.com), Christopher
 Hopkins (chopkins@paulweiss.com), Megan Spelman (mspelman@paulweiss.com), Sean
 Mitchell (smitchell@paulweiss.com), and Joshua A. Esses (jesses@paulweiss.com), (b) proposed
 co-counsel to the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main Street, Hackensack, New
 Jersey 07601, Attn: Michael D. Sirota (msirota@coleschotz.com), Warren A. Usatine
 (wusatine@coleschotz.com), Felice R. Yudkin (fyudkin@coleschotz.com), and Seth Van Aalten
 (svanaalten@coleschotz.com), and (c) proposed investment banker to the Debtors, Guggenheim
 Securities, LLC, 330 Madison Avenue, New York, New York 10017, Attn: Adam Rifkin
 (Adam.Rifkin@guggenheimpartners.com), Jeff Cohen (Jeff.Cohen@guggenheimpartners.com),
 Brendan Hayes (Brendan.Hayes@guggenheimpartners.com), and Andrew Herrera
 (Andrew.P.Herrera@guggenheimpartners.com), the following preliminary documentation
 (collectively, the “Preliminary Bid Documents”), unless already delivered to the Debtors (in the
 Debtors’ business judgment):



        Securities and Exchange Commission; (i) the attorneys general in the states where the Debtors conduct their
        business operations; (j) all parties who have expressed a written interest in purchasing some or all of the Assets;
        (k) any known Assumed Contract Counterparties; (k) all known holders of Encumbrances; (l) each governmental
        agency that is an interested party with respect to the Sale Transactions; (m) each of the Debtors’ landlords; and
        (n) any party that has requested notice pursuant to Bankruptcy Rule 2002.



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         a.       An executed confidentiality agreement, which may include a “clean team”
                  agreement (a “Confidentiality Agreement”) in form and substance acceptable to the
                  Debtors.

         b.       Sufficient information that the Potential Bidder has or can reasonably obtain the
                  financial capacity to close a purchase of any portion, all, or substantially all of the
                  Assets subject to the contemplated Bid, the adequacy of which must be acceptable
                  to the Debtors, in consultation with the Consultation Parties.4

         c.       A statement detailing whether the Potential Bidder is partnering with or otherwise
                  working with any other interested party in connection with the potential submission
                  of a joint Bid, the identity of any such party or parties, and a concise description of
                  the nature of such partnership or joint Bid to the extent reasonably practicable.

         6.      Any bidder that is party to a confidentiality agreement with the Debtors as of the
 Petition Date (a “Prepetition NDA Bidder”) must submit a Qualified Bid for any Pharmacy Assets
 it wishes to Bid on by the Pharmacy Assets Bid Deadline (as defined below) to be eligible to
 participate in any Auction for such Pharmacy Assets, including if such Pharmacy Assets become
 Remaining Pharmacy Assets. A Prepetition NDA Bidder will be eligible to be a Potential Bidder
 for Pharmacy Assets (including any Remaining Pharmacy Assets) if, and only if, such
 Prepetition NDA Bidder submits a Qualified Bid for such Pharmacy Assets by the Pharmacy
 Assets Bid Deadline. Failure to do so will render such Prepetition NDA Bidder ineligible to be a
 Potential Bidder for any Remaining Pharmacy Assets to the extent that such Prepetition NDA
 Bidder failed to submit a Bid for such Assets by the Pharmacy Assets Bid Deadline.

         7.      Any bidder that is not a party to a confidentiality agreement with the Debtors as of
 the Petition Date (a “Non-Prepetition NDA Bidder”) may be a Potential Bidder and may submit a
 Bid or an indication of interest for the Pharmacy Assets by the Pharmacy Assets Bid Deadline;
 provided that such Potential Bidders must submit a Qualified Bid by the Pharmacy Assets Bid
 Deadline for such Pharmacy Assets to be entitled to participate in the Pharmacy Assets Auction.
 Non-Prepetition NDA Bidders that do not submit a Bid for the Pharmacy Assets by the Pharmacy
 Assets Bid Deadline shall be entitled to participate in the sale process for the Remaining Pharmacy
 Assets, if any. Only Non-Prepetition NDA Bidders will be eligible to submit a Qualified Bid for
 Remaining Pharmacy Assets, if any.

        8.     Solely with respect to any Assets that are prescription files and/or pharmacy
 inventory, to be an Acceptable Bidder, a Potential Bidder must hold all applicable licenses,
 permits, and authorizations required to operate a pharmacy and/or handle and distribute



 4   “Consultation Parties” shall mean counsel to (i) the Prepetition ABL Agent and the DIP Agent (each, an “Agent”),
     (ii) an ad hoc group of certain secured notes (the “Ad Hoc Group”), and (iii) any statutory committees appointed
     in these cases; provided, however, that to the extent any Agent or the Ad Hoc Group (or any members thereof)
     submits a bid for any Pharmacy Assets and/or Remaining Assets, such Agent or the Ad Hoc Group shall not be a
     Consultation Party with respect to (a) the evaluation and qualification of competing bids for the Pharmacy Assets
     and/or the Remaining Assets included in such bid or (b) seeking and/or obtaining information about other bids,
     but such Agent and the Ad Hoc Group shall remain a Consultation Party for the other purposes set forth herein.



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 pharmaceutical products in the jurisdiction applicable to such prescription files and/or pharmacy
 inventory.

         9.     The Debtors, in consultation with their advisors and in consultation with the
 Consultation Parties, will determine and notify each Potential Bidder whether such Potential
 Bidder has submitted adequate documents so that such Potential Bidder may proceed to conduct
 due diligence and submit a bid (such Potential Bidder, an “Acceptable Bidder”).

 IV.    Qualified Bid Requirements.

        10.     To participate in any Auction, an Acceptable Bidder must deliver to the Debtors
 and their above-referenced advisors an irrevocable offer for the purchase of some or all of the
 Assets (each, a “Bid”), and shall meet the following criteria, in each case, on or prior to the
 applicable Bid Deadline (as defined below):

        a.     Purchased Assets and Assumed Liabilities: Each Bid must clearly state the
               following: (i) the particular Assets, or the portion thereof, identified with reasonable
               specificity, to be purchased; (ii) the liabilities and obligations to be assumed,
               including any debt and cure costs to be assumed; and (iii) as applicable, whether
               the Acceptable Bidder intends to operate the applicable Assets as a going concern.

        b.     Good Faith Deposit: The Debtors, in consultation with the Consultation Parties,
               reserve the right to require a cash deposit in an amount to be determined in its
               discretion based on the Assets subject to the Bid to be held in an interest-bearing or
               non-interest bearing escrow account to be identified and established by the Debtors
               (the “Good Faith Deposit”) at any time at or prior to the signing of a definitive
               purchase agreement for the applicable Assets set forth in the Bid. To the extent that
               a Bid for which a Good Faith Deposit was provided is modified at or prior to the
               applicable Auction, the Debtors, in consultation with the Consultation Parties, may
               require the applicable Acceptable Bidder to adjust its Good Faith Deposit in the
               amount set forth in the modified Bid, if any, promptly and in no event later than
               one (1) business day following the conclusion of the applicable Auction.

        c.     Purchase Price: Each Bid must (i) clearly set forth the purchase price to be paid,
               assuming a purchase of the applicable Assets and any assumption of liabilities
               (the “Purchase Price”), (ii) identify separately the cash and non-cash components
               of the Purchase Price, (iii) indicate the allocation of the Purchase Price among the
               applicable Assets, and (iv) if the Bid includes Pharmacy Assets (including
               Remaining Pharmacy Assets), indicate the allocation of value of the applicable
               Assets on a store by store basis; provided that, the allocations set forth in (iii) and
               (iv) shall be nonbinding on any third party and shall not prejudice the rights of any
               party in interest to contest such allocation. The Purchase Price should be a single
               point value in U.S. Dollars for the applicable Assets on a cash-free, debt-free basis.
               Any Bid for substantially all of the Assets must also include a statement as to
               whether the Bid is conditioned on purchasing all Assets or whether the Qualified
               Bid should be viewed as separate Bid for one or more sets of Assets. The Debtors
               reserve the right to ask any Acceptable Bidder to further allocate the value ascribed


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            to a Bid for any particular Asset and to inquire about any significant assumptions
            on which such valuations are based beyond information provided in the applicable
            Bid and Pharmacy Bidder Matrix (as defined below).

      d.    Same or Better Terms; Bid Documents: Each Bid must include duly executed
            and non-contingent transaction documents necessary to effectuate the transactions
            contemplated in the Bid (the “Bid Documents”). The Bid Documents shall include:
            (i) a form of purchase agreement; (ii) a schedule of contracts and leases to be
            assumed to the extent applicable to the Bid, (iii) with respect to the purchase
            agreement, a redline of such agreement marked to reflect the amendments and
            modifications made to a form of the applicable purchase agreement that the Debtors
            shall make available to Acceptable Bidders via the Debtors’ electronic data room
            pursuant to the due diligence process, (iv) to the extent such Bid includes any
            Pharmacy Assets (including Remaining Pharmacy Assets), a completed copy (in
            excel format) of the buyer information form made available to Acceptable Bidders
            via the Debtors’ electronic data room (the “Pharmacy Bidder Matrix”), (v) any
            other material documents integral to such Bid, and (vi) a statement from the
            Acceptable Bidder that (1) it is prepared to enter into and consummate the
            transactions contemplated in the form purchase agreement after the conclusion of
            the applicable Auction on the timeline set forth therein, subject to any necessary
            regulatory approvals, as specified by the Acceptable Bidder (or, if no Auction is
            held, the applicable deadline by which all binding Bids must be actually received
            pursuant to the Bidding Procedures), and (2) the Qualified Bid will be irrevocable
            until the consummation of the applicable Sale Transaction(s).

      e.    No Qualified Bidder Bid Protections: A Qualified Bid must include a statement
            that the Bid does not entitle such bidder to any break-up fee, termination fee,
            expense reimbursement, or similar type of payment or reimbursement and a waiver
            of any substantial contribution administrative expense claim under section 503(b)
            of the Bankruptcy Code related to bidding for the applicable Assets.

      f.    Employee Obligations: Each Bid must indicate whether the Acceptable Bidder
            intends to hire any or all employees who are primarily employed in connection with
            the applicable Assets included in such Bid, and the Acceptable Bidder’s proposed
            approach with respect to any relevant arrangements with labor unions, including
            regarding employee and retirement benefits matters, and, where applicable,
            whether it intends to assume or otherwise offer to assume collective bargaining
            agreements. If the Acceptable Bidder does not intend to hire any or all employees
            who are primarily employed in connection with the applicable Assets included in
            such Bid, the Acceptable Bidder must include a description of the Acceptable
            Bidder’s intentions with respect to the relevant employees who are primarily
            employed in connection with the applicable Assets. The Debtors will assist
            Successful Bidders in arranging interviews as needed with any applicable
            employees.

      g.    Sources of Financing:



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                  i.    Prepetition NDA Bidder. Each Bid submitted by a Prepetition NDA
                        Bidder must be accompanied by evidence of the Acceptable Bidder’s
                        capacity to consummate the Sale Transaction(s) set forth in its Bid with
                        cash on hand or with availably liquidity under an existing line of credit,
                        revolving loan, or similar facility.

                 ii.    Non-Prepetition NDA Bidder. Each Bid submitted by a Non-
                        Prepetition NDA Bidder must be accompanied by either (a) evidence of
                        the Acceptable Bidder’s capacity to consummate the Sale
                        Transaction(s) set forth in its Bid with cash on hand or with availably
                        liquidity under an existing line of credit, revolving loan, or similar
                        facility or (b) a description of the Acceptable Bidder’s proposed
                        financing, documented to the Debtors’ satisfaction, in consultation with
                        the Consultation Parties, that demonstrates that the Acceptable Bidder
                        has received, or has a reasonable likelihood of securing, sufficient debt
                        and/or equity funding commitments to satisfy the Acceptable Bidder’s
                        obligations under the proposed Sale Transaction(s) and other
                        obligations under its Bid, including providing adequate assurance of
                        future performance under all Contracts proposed to be assumed by such
                        Bid. Such funding commitments or other financing must be
                        unconditional and must not be subject to any internal approvals,
                        syndication requirements, diligence, or credit committee approvals, and
                        shall have covenants and conditions acceptable to the Debtors.

      h.    Contingencies; No Financing or Diligence Outs: The Bid must not be
            conditioned on the obtaining or the sufficiency of financing, any internal approval,
            or on the outcome or review of due diligence, but may be subject to the accuracy at
            the closing of specified representations and warranties. All diligence must be
            completed before the applicable Bid Deadline.

      i.    Identity: Each Bid must fully disclose the identity of each entity and each entity’s
            shareholders, partners, investors, and ultimate controlling entities that will be
            bidding for or purchasing the applicable Assets or otherwise participating in
            connection with such Bid, and the complete terms of any such participation, along
            with sufficient evidence that the Acceptable Bidder is legally empowered to
            complete the transactions on the terms contemplated by the parties. Each Bid must
            also include contact information for the specific person(s) whom Guggenheim
            Securities, LLC (“Guggenheim Securities”) and Paul, Weiss, Rifkind, Wharton &
            Garrison LLP (“Paul, Weiss”) should contact regarding such Bid.

      j.    As-Is, Where-Is: Each Bid must include a written acknowledgement and
            representation that the Acceptable Bidder: (i) has had an opportunity to conduct
            any and all due diligence prior to making its offer; (ii) has relied solely upon its
            own independent review, investigation, and/or inspection of any documents and/or
            the assets in making its Bid; and (iii) did not rely upon any written or oral
            statements, representations, promises, warranties, or guaranties whatsoever,
            whether express, implied, by operation of law, or otherwise, by the Debtors,


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            Guggenheim Securities, Paul, Weiss, or the Debtors’ other advisors regarding any
            information provided in connection therewith, except, solely with respect to the
            Debtors, as expressly stated in the Acceptable Bidder’s proposed purchase
            agreement.

      k.    Authorization: Each Bid must contain evidence that the Acceptable Bidder has
            obtained all necessary authorizations or approvals from its shareholders and/or its
            board of managers or directors, or any other internal and other approvals, as
            applicable, with respect to the submission of its Bid and the consummation of the
            transactions contemplated in such Bid.

      l.    Joint Bids: The Debtors will be authorized to approve joint Bids in their reasonable
            business judgment, in consultation with the Consultation Parties, on a case-by-case
            basis, so long as a joint Bid meets the Qualified Bid Requirements, and the
            applicable bidders otherwise comply with these Bidding Procedures.

      m.    Adequate Assurance of Future Performance: Each Bid must, to the extent
            applicable, (i) identify any then-known executory contracts and unexpired leases
            (collectively, the “Contracts”) to be assumed and assigned in connection with the
            proposed Sale Transaction, (ii) provide for the payment of all cure amounts related
            to such then-known Contracts by the Acceptable Bidder and (iii) demonstrate, in
            the Debtors’ reasonable business judgment, in consultation with the Consultation
            Parties, that the Acceptable Bidder can provide adequate assurance of future
            performance under all such then-known Contracts sufficient to satisfy the
            requirements of sections 365(b)(3) and 365(f)(2)(B) of the Bankruptcy Code, and
            (iv) provide the following documentation (which the Debtors may reasonably
            request be supplemented after the Bid is submitted in connection with any
            reasonable request from a counterparty to a proposed Assumed Contract):

            1.      The legal name of the proposed assignee of such then-known Assumed
                    Contracts (the “Proposed Assignee”) and any guarantors, as applicable.

            2.      Financial statements for the calendar or fiscal years ended 2023 and 2024
                    for the Proposed Assignee and any guarantors, as applicable, or such other
                    financial information about the Proposed Assignee to demonstrate its ability
                    to provide adequate assurance of future performance.

            3.      With respect to a Bid to acquire some or all of the Assets as a going concern,
                    summary documentation regarding the Proposed Assignee’s and any
                    guarantor’s, as applicable, retail experience and present retail operations.

            4.      With respect to a Proposed Assignee of an unexpired lease of nonresidential
                    real property identified in a Bid for the Assets, a summary of the Proposed
                    Assignee’s proposed use of the premises.

      n.    Acknowledgement of Compliance with Bidding Procedures, Bidding
            Procedures Order, Bankruptcy Code, and Non-Bankruptcy Law: Each Bid
            must acknowledge its compliance in all respects with these Bidding Procedures, the


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            Bidding Procedures Order, Bankruptcy Code and any applicable non-bankruptcy
            law.

      o.    Privacy Policies: To the extent applicable to the Assets subject to a Bid, the
            Acceptable Bidder must comply in all respects with the Debtors’ Privacy Policies,
            and each Bid must contain a statement acknowledging such compliance.

      p.    No Collusion: The Acceptable Bidder must represent in writing (i) that it has not
            engaged in any collusion with respect to any Bids or the Sale Transactions,
            specifying that it did not agree with any Acceptable Bidders or Potential Bidders to
            control price, and (ii) that it agrees not to engage in any collusion with respect to
            any Bids, the Auctions, or the Sale Transactions. This requirement does not restrict
            Potential Bidder(s) from working with other Potential Bidder(s) with the Debtors’
            prior written consent (email shall suffice).

      q.    Good Faith Offer: The Bid must constitute a good faith, bona fide offer to
            consummate the applicable Sale Transactions.

      r.    Regulatory Approvals and Covenants: A Bid must set forth each regulatory and
            third-party approval required for the Acceptable Bidder to consummate the
            applicable Sale Transaction, if any, and the time period within which the
            Acceptable Bidder expects to receive such regulatory and third-party approvals
            (and in the case that receipt of any such regulatory or third-party approval is
            expected to take more than thirty days following execution and delivery of the
            applicable purchase agreement and/or confirmation of the Plan, those actions the
            Acceptable Bidder will take to ensure receipt of such approvals as promptly as
            possible).

      s.    Expected Closing Date: Each Bid must state the Acceptable Bidder’s expected
            date(s) of closing of the applicable Sale Transaction(s).

      t.    Time Frame for Closing: A Bid by an Acceptable Bidder must be reasonably
            likely (based on antitrust or other regulatory issues, experience, and other
            considerations) to be consummated, if selected as the Successful Bid (as defined
            herein), within a time frame acceptable to the Debtors, and, with respect to the
            Pharmacy Assets, as soon as reasonably practical.

      u.    No Fees: Each Acceptable Bidder presenting a Bid or Bids will bear its own costs
            and expenses (including legal fees) in connection with the proposed transaction,
            and by submitting its Bid(s) is agreeing to disclaim any right to receive a fee
            analogous to a break-up fee, expense reimbursement, termination fee, or other
            similar form of compensation; provided, however, that nothing in these Bidding
            Procedures shall limit, alter or impair the rights of any party to payment and
            reimbursement of expenses that are set forth in the DIP Orders, and parties entitled
            to payment or reimbursement of expenses under the DIP Orders shall be entitled to
            payment or reimbursement of expenses incurred in connection with these Bidding
            Procedures and the matters contemplated hereby.



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                By submitting its Bid, each Acceptable Bidder is agreeing to refrain from and waive
                any assertion or request for reimbursement on any basis, including under section
                503(b) of the Bankruptcy Code.

        v.      Adherence to Bidding Procedures: By submitting its Bid, each Acceptable
                Bidder is agreeing to abide by and honor the terms of these Bidding Procedures and
                agrees not to submit a Bid or seek to reopen any Auction after conclusion of such
                Auction.

        w.      Consent to Jurisdiction: The Acceptable Bidder must submit to the jurisdiction
                of the Court and waive any right to a jury trial in connection with any disputes
                relating to the Debtors’ qualification of Bids, to the Auctions, the Sales, the Sale
                Transactions, and the construction and enforcement of these Bidding Procedures,
                the Preliminary Bid Documents, the Bids, the Bid Documents, and any and all other
                agreements entered into in connection with any proposed Sale Transaction, and the
                closing, as applicable.

        x.      Conditions to Closing: Each Bid must identify with particularity each and every
                condition to closing, including any then-known Contracts for which assumption
                and assignment is required.

        11.    The Debtors reserve the right to exclude any party from any Auction for any
 particular Assets (including with respect to the Pharmacy Assets, excluding any party from
 any Auction for Pharmacy Assets at a specific store location) if the Debtors have determined,
 in their reasonable business judgment, in consultation with the Consultation Parties, that
 such party did not submit a Qualified Bid (including solely because such party did not put
 forward a good faith Bid).

        12.     Only Bids fulfilling all of the preceding requirements contained in this section may,
 unless otherwise determined in the Debtors’ reasonable business judgment, in consultation with
 the Consultation Parties, be deemed to be “Qualified Bids,” and only those parties submitting
 Qualified Bids shall be deemed to be “Qualified Bidders.”

         13.      Except and to the extent expressly set forth in a definitive executed purchase
 agreement with respect to specific Assets, the Debtors are not making and have not at any time
 made any warranties or representations of any kind or character, express or implied, with respect
 to the Assets, including, but not limited to, any warranties or representations as to operating history
 or projections, valuation, governmental approvals, the compliance of the Assets with governmental
 laws, the truth, accuracy, or completeness of any documents related to the Assets, or any other
 information provided by or on behalf of the Debtors to a bidder, or any other matter or thing
 regarding the Assets. All bidders must acknowledge and agree that upon closing the Debtors shall
 sell and transfer to the Successful Bidder and the Successful Bidder shall accept the applicable
 Assets, except to the extent expressly provided in the Bankruptcy Court’s order approving the
 applicable Sale Transaction(s). Neither the Debtors nor any of their advisors will be liable for or
 bound by any express or implied warranties, guaranties, statements, representations, or information
 pertaining to the Assets or relating thereto that the Debtors, any advisor, or agent representing or
 purporting to represent the Debtors to whomever might have made or furnished, directly or


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 indirectly, orally or in writing, unless (with respect to the Debtors only) specifically set forth in
 the Bankruptcy Court’s order(s) approving the applicable Sale Transaction(s).

         14.    In advance of the commencement of each Auction, as is reasonably practicable, the
 Debtors shall determine, in consultation with the Consultation Parties, which Acceptable Bidders
 are Qualified Bidders and will notify the Acceptable Bidders whether Bids submitted constitute
 Qualified Bids, which will enable such Qualified Bidders to participate in such Auction. Any Bid
 that is not deemed a Qualified Bid shall not be considered by the Debtors; provided that if the
 Debtors receive a Bid prior to the applicable Bid Deadline that does not satisfy the requirements
 of a Qualified Bid, the Debtors may provide the Acceptable Bidder with the opportunity to remedy
 any deficiencies prior to the applicable Auction.

        15.     Notwithstanding anything to the contrary in these Bidding Procedures, the Debtors,
 in consultation with the Consultation Parties, may, in their business judgment, following the
 applicable Bid Deadline, select a Successful Bidder for any of the Assets without holding an
 Auction for such Assets, as described below in section VIII.

         16.     Solely with respect to the Other Assets, nothing in these Bidding Procedures shall
 impair or otherwise affect the rights of any secured creditor that is an Acceptable Bidder to credit
 bid all or any portion of such secured creditor’s secured claims pursuant to section 363(k) of the
 Bankruptcy Code; provided that any such Bid is submitted in accordance with these Bidding
 Procedures.

 V.     Obtaining Due Diligence Access.

          17.   Only Acceptable Bidders shall be eligible to receive due diligence information,
 access to the Debtors’ electronic data room, and additional non-public information regarding the
 Debtors. No Acceptable Bidder will be permitted to conduct any due diligence without entry into
 a Confidentiality Agreement. If an Acceptable Bidder was already subject to a Confidentiality
 Agreement with the Debtors as of the Petition Date, that Confidentiality Agreement shall remain
 in effect in accordance with its terms. Any Acceptable Bidders that are not subject to a
 Confidentiality Agreement with the Debtors as of the Petition Date may request to enter into a
 Confidentiality Agreement ahead of Remaining Assets IOI Deadline by contacting the Bid Notice
 Parties.

         18.     Beginning on the date the Debtors enter into a Confidentiality Agreement with an
 Acceptable Bidder, the Debtors may provide such Acceptable Bidder with access to an electronic
 data room and reasonable due diligence information, as requested by such Acceptable Bidder, as
 soon as reasonably practicable after such request. The Debtors shall post substantially all written
 due diligence provided to any Acceptable Bidder to the Debtors’ electronic dataroom for the
 benefit of all applicable Bidders (it being understood that certain materials may only be available
 to members of a “clean team” and subject to the terms of any “clean team” agreement). To the
 extent the Debtors provide any material written information to an Acceptable Bidder that the
 Debtors had not previously provided to a Consultation Party, the Debtors shall promptly make
 such information available to such Consultation Party.




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         19.    Acceptable Bidders will not, directly or indirectly, contact or initiate or engage in
 discussions in respect of matters relating to the Debtors or a potential transaction with any
 customer, employee, supplier, or other contractual counterparty of the Debtors without the prior
 written consent of the Debtors. The due diligence period will end on the applicable Bid Deadline
 and subsequent to the applicable Bid Deadline the Debtors shall have no obligation to furnish any
 due diligence information; provided that the Debtors may continue to furnish any due diligence
 information with respect to the Remaining Pharmacy Assets after the Pharmacy Assets Bid
 Deadline.

         20.     In connection with the provision of due diligence information to Acceptable
 Bidders, the Debtors shall not furnish any confidential information relating to the Debtors or a
 potential transaction to any person except an Acceptable Bidder or such Acceptable Bidder’s duly
 authorized representatives to the extent provided in an applicable Confidentiality Agreement.

         21.    The Debtors and their advisors shall make reasonable efforts to coordinate all
 reasonable requests for additional information and due diligence access from Acceptable Bidders;
 provided that the Debtors, in consultation with the Consultation Parties, may decline to provide
 such information to Acceptable Bidders who, in the Debtors’ reasonable business judgment have
 not established, or who have raised doubt, that such Acceptable Bidders intend in good faith to, or
 have the capacity to, consummate the applicable Sale Transaction. For any bidder who is a
 competitor or customer of the Debtors or is affiliated with any competitors or customers of the
 Debtors, the Debtors, in consultation with the Consultation Parties, reserve the right to withhold
 or modify any diligence materials that the Debtors determine are business-sensitive or otherwise
 inappropriate for disclosure to such bidder.

         22.     None of the Debtors, Guggenheim Securities, Paul, Weiss, or the Debtors’ other
 advisors make any representations, promises, warranties, or guaranties whatsoever, whether
 express, implied, by operation of law, or otherwise regarding the any information provided in
 connection with due diligence, except, solely with respect to the Debtors, and solely to the extent
 that expressly stated in a definitive executed purchase agreement related to any Assets.

        A.      Communications with Acceptable Bidders (including Qualified Bidders).

         23.    Notwithstanding anything to the contrary in these Bidding Procedures, all
 substantive direct communications, including any diligence requests, with Acceptable Bidders
 (including any Qualified Bidders) shall be through Guggenheim Securities.

        B.      Due Diligence from Acceptable Bidders (including Qualified Bidders).

         24.     Each Acceptable Bidder (including any Qualified Bidder) shall comply with all
 reasonable requests for additional information and due diligence access requested by the Debtors
 or their advisors and their respective advisors, regarding the ability of such Acceptable Bidder
 (including any Qualified Bidder) to consummate its contemplated transaction. Failure by an
 Acceptable Bidder (including any Qualified Bidder) to comply with such reasonable requests for
 additional information and due diligence access may be a basis for the Debtors to determine that
 such bidder is no longer an Acceptable Bidder (including any Qualified Bidder) or that a Bid made
 by such bidder is not a Qualified Bid.



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 The Debtors have designated Adam Rifkin, Jeff Cohen, Brendan Hayes, and Andrew Herrera at
 Guggenheim Securities to coordinate all requests for additional information and due diligence
 access on behalf of the Debtors. They can be reached at Adam.Rifkin@guggenheimpartners.com,
 Jeff.Cohen@guggenheimpartners.com,          Brendan.Hayes@guggenheimpartners.com,         and
 Andrew.P.Herrera@guggenheimpartners.com.

 VI.    Bid Deadline.

        25.     Binding Bids must be submitted in writing to the following parties
 (the “Bid Notice Parties”) by the applicable deadline set forth below :

        (a)     proposed co-counsel to the Debtors, Paul, Weiss, Rifkind, Wharton & Garrison
                LLP, 1285 Avenue of the Americas, New York, New York 10019, Attn: Andrew
                N.    Rosenberg     (arosenberg@paulweiss.com),      Alice   Belisle   Eaton
                (aeaton@paulweiss.com), Christopher Hopkins (chopkins@paulweiss.com),
                Megan       Spelman       (mspelman@paulweiss.com),        Sean      Mitchell
                (smitchell@paulweiss.com), and Joshua A. Esses (jesses@paulweiss.com);

        (b)     proposed co-counsel to the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main
                Street, Hackensack, New Jersey 07601 Attn: Michael D. Sirota
                (msirota@coleschotz.com), Warren A. Usatine (wusatine@coleschotz.com),
                Felice R. Yudkin (fyudkin@coleschotz.com), and Seth Van Aalten
                (svanaalten@coleschotz.com); and

        (c)     the Debtors’ proposed investment banker, Guggenheim Securities, LLC, 330
                Madison Avenue, New York, New York 10017, Attn: Adam Rifkin
                (Adam.Rifkin@guggenheimpartners.com),              Jeff            Cohen
                (Jeff.Cohen@guggenheimpartners.com),            Brendan            Hayes
                (Brendan.Hayes@guggenheimpartners.com),      and      Andrew      Herrera
                (Andrew.P.Herrera@guggenheimpartners.com).

        A.      Pharmacy Assets.

         26.    Prepetition NDA Bidders must submit binding Bids to the Bid Notice Parties no
 later than 6:00 a.m. (prevailing Eastern Time) on May 13, 2025 (the “Pharmacy Assets Bid
 Deadline”). Non-Prepetition NDA Bidders are entitled to submit either a non-binding indication
 of interest or a binding Bid by the Pharmacy Assets Bid Deadline. However, such Potential
 Bidders will also be eligible to submit bids for any Remaining Pharmacy Assets by the Remaining
 Assets Bid Deadline (as defined below).

        B.      Remaining Assets.

          27.    In order to be eligible to submit a Bid for Remaining Assets, Acceptable Bidders
 will first be required to submit a non-binding indication of interest (an “Remaining Assets IOI”)
 not later than 5:00 p.m. (prevailing Eastern Time) on May 30, 2025 (the “Remaining Assets IOI
 Deadline”), to the Bid Notice Parties (as defined below); provided that the Debtors may extend the
 Remaining Assets IOI Deadline or waive the requirement of an Remaining Assets IOI for one or


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 more Acceptable Bidders, without further order of the Court. Prepetition NDA Bidders will not
 be eligible to submit Bids for any Remaining Pharmacy Assets to the extent that such Prepetition
 NDA Bidder failed to submit a Bid for such Assets by the Pharmacy Assets Bid Deadline.

        28.    Each Remaining Assets IOI must include, except as the Debtors, in consultation
 with the Consultation Parties, otherwise determine:

        (a)     a letter outlining the Acceptable Bidder’s offer, form(s) of consideration, any
                conditions precedent (other than the sufficiency of financing) and stating that the
                Acceptable Bidder is prepared to work in good faith to acquire the Remaining
                Assets and finalize a binding proposal by the applicable Bid Deadline (as defined
                below);

        (b)     written evidence acceptable to the Debtors demonstrating financial wherewithal
                and a description of any corporate or governmental authorizations necessary to
                consummate the proposed Sale Transaction;

        (c)     the identification of the ultimate beneficial owners of the Acceptable Bidder;

        (d)     a description of all remaining due diligence requirements and any material
                conditions to be satisfied prior to submission of a Bid; and

        (e)     to the extent known at the time of the Remaining Assets IOI, any obligations related
                to employees of the Debtors the Acceptable Bidder may assume.

        29.     Binding Bids for the Remaining Assets must be submitted in writing to the Bid
 Notice Parties by 5:00 p.m. (prevailing Eastern Time) on June 13, 2025 (the “Remaining Assets
 Bid Deadline”).


        30.    In consultation with the Consultation Parties, the Debtors may extend the Bid
 Deadlines for any reason whatsoever, in their reasonable business judgment for all or certain
 Acceptable Bidders.

 VII.   Evaluation of Qualified Bids.

         31.    The Debtors shall evaluate Qualified Bids and identify the Qualified Bid that is, in
 the Debtors’ business judgment, and, in consultation with the Consultation Parties, the highest or
 otherwise best Qualified Bid or combination of Qualified Bids for any Assets (the “Starting Bids”).
 The Debtors shall promptly provide to the Consultation Parties and the U.S. Trustee copies of all
 Bids received by the Debtors, including the Starting Bid; provided that the Consultation Parties
 and the U.S. Trustee must treat such Bids and any related information as confidential and shall not
 publicly disclose such information without the written consent of the Debtors and the applicable
 bidder.

         32.    When determining the highest or otherwise best Qualified Bid, as compared to other
 Qualified Bids, the Debtors may consider the following factors, in addition to any other factors
 that the Debtors deem appropriate: (a) the amount and nature of the total consideration to be paid


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 by the Qualified Bidder, which includes but is not limited to, assumed liabilities (including
 administrative liabilities and cure payments), the amount of executory contracts and leased
 locations being assumed, and the types, amounts, and timing and other terms of the consideration
 to be paid by the Qualified Bidder; (b) the total quantity of stores and the percentage of stores in a
 particular region, if applicable, proposed to be purchased by the Qualified Bidder; (c) the
 likelihood, as determined by the Debtors in their reasonable business judgement, of obtaining
 necessary regulatory approvals and the speed upon which such approvals are expected to be
 obtained; (d) the likelihood of the Qualified Bidder’s ability to close a transaction and the timing
 thereof; (e) the impact of the proposed Sale Transactions contemplated by the Qualified Bid on
 the Debtors’ customers; (f) the net economic effect of any changes to the value to be received by
 each of the Debtors’ estates from the transaction contemplated by the Bid Documents; (g) whether
 the Qualified Bid contemplates Sale Transactions that would be consummated through a Plan or a
 sale pursuant to section 363 of the Bankruptcy Code; (h) the impact of the proposed Sale
 Transactions contemplated by the Qualified Bid on the Debtors’ employees; (i) the changes, if any,
 to the form purchase agreement provided by the Debtors (with fewer changes being viewed more
 favorably); (j) the tax consequences of such Qualified Bid; and (k) any other consideration that
 may impact the Debtors’ stakeholders. Prior to commencing each Auction, the Debtors shall notify
 all Qualified Bidders as to which Qualified Bid is the Starting Bid for such Auction with respect
 to the applicable assets. At such time, the Debtors shall distribute to each Qualified Bidder the
 applicable terms of the Starting Bid, which may be provided in summary fashion from information
 contained in a Pharmacy Bidder Matrix and/or in a Debtor prepared summary of the foregoing in
 consultation with the Consultation Parties.

 VIII. Cancellation of Auction.

        33.     The Debtors, in consultation with the Consultation Parties, reserve the right to
 cancel or adjourn the applicable Auction with respect to any particular Assets at any time. The
 Debtors will notify any applicable Qualified Bidders of the cancellation or adjournment of the
 Auctions for any Assets subject to their Bids (which, may occur at the commencement of or during
 the Auction). Notwithstanding anything to the contrary in these Bidding Procedures, the Debtors
 may, in their business judgment, in consultation with the Consultation Parties, after the applicable
 Bid Deadline, select a Successful Bidder for any of the Assets without holding an Auction for such
 Assets. The Debtors will include any such Successful Bidder(s) in the Notice of Successful
 Bidder(s) filed after the conclusion of the Pharmacy Assets Auction or the Remaining Assets
 Auction, as applicable (or the filing of a notice of cancellation of the applicable Auction is
 cancelled with respect to all Assets).

 IX.    Auctions.

          34.    If the Debtors receive more than one Qualified Bid for any particular Asset or
 portion of Assets by the applicable Bid Deadline, the Debtors may hold an Auction for such Assets.
 In that case, the Debtors shall cause a notice confirming the receipt of Qualified Bids (which shall
 not list the Qualified Bids or identity of any Qualified Bidders) to be filed on the docket of these
 chapter 11 cases and may conduct an Auction in accordance with the Auction Procedures (as
 defined below) to determine the Successful Bidder in their reasonable business judgment with
 respect to such Assets or portion of Assets. If the Debtors do not receive a Qualified Bid for any
 particular Asset by the applicable Bid Deadline, the Debtors, in consultation with the Consultation


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 Parties, reserve the right to determine whether to hold an Auction with respect to such asset. If the
 Debtors select a Successful Bidder for any particular Pharmacy Assets following the applicable
 Bid Deadline without holding an Auction, the Debtors, in consultation with the Consultation
 Parties, reserve the right to not hold an Auction with respect to such Asset.

         35.   The Pharmacy Assets Auction, if needed, shall commence on May 14, 2025, at
 9:00 a.m. (prevailing Eastern Time), or such later time and/or place as the Debtors determine in
 consultation with the Consultation Parties. The Remaining Assets Auction, if needed, shall
 commence on June 20, 2025, at 9:00 a.m. (prevailing Eastern Time), or such later time and/or
 place as the Debtors determine in consultation with the Consultation Parties. The Auctions will
 be held by videoconference (or at any location as the Debtors may hereafter designate on proper
 notice).

        36.    The Auctions will be conducted by the Debtors, in consultation with the
 Consultation Parties, in accordance with the following procedures (the “Auction Procedures”):

        a.      Before the commencement of each Auction, the Debtors shall indicate which Assets
                are subject to such Auction. The Debtors may place up for auction any combination
                some, all, or substantially all of the Assets subject to Auction, in their reasonable
                business judgment.

        b.      Each Auction will be conducted openly.

        c.      Except as otherwise provided herein, only Qualified Bidders shall be entitled to bid
                at any Auction.

        d.      The Qualified Bidders may appear virtually themselves or through duly-authorized
                representatives at the Auctions.

        e.      Prior to the commencement of each Auction, the Debtors will assign each Qualified
                Bidder a unique identification number that will be used to refer to such Qualified
                Bidder during the applicable Auction. The Debtors will take reasonable steps to
                preserve anonymity of the Qualified Bidders during the Auctions, including by
                referring only to the unique identification numbers for the Qualified Bidders. The
                Debtors shall share the list of Qualified Bidders and their corresponding
                identification numbers with the Consultation Parties prior to each Auction.
                Notwithstanding the foregoing, the Debtors, in consultation with the Consultation
                Parties, may announce the identity of a Qualified Bidder in conjunction with
                declaring on the record such Bidder as having the Successful Bid for some or all of
                the Assets, and such announcement may occur at any point during the Auction.

        f.      At the commencement of each Auction, in consultation with the Consultation
                Parties, the Debtors may announce procedural and related rules governing such
                Auction, including time periods available to all Qualified Bidders to submit
                successive Bid(s).

        g.      Bidding shall begin with the Starting Bid.



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      h.    Subsequent Bids (each, an “Overbid”) may only be made at the Auctions and shall
            be an increase, in an amount to be announced by the Debtors at the commencement
            of the applicable Auction, in cash, cash equivalents, or other such consideration
            that the Debtors, in their reasonable business judgment, in consultation with the
            Consultation      Parties,   deem    equivalent     over     the    previous    Bid
            (a “Minimum Overbid”), and each successive Overbid shall exceed the
            then-existing Overbid by an incremental amount that is not less than the Minimum
            Overbid. The Minimum Overbid announced by the Debtors at the commencement
            of the Auction may differ based on the applicable Assets and format of the
            applicable Auction. The Debtors may, in their reasonable business judgment, in
            consultation with the Consultation Parties, announce increases or reductions to the
            Minimum Overbid at any time prior to or during the applicable Auction. Each
            successive Bid that a Qualified Bidder may submit at the applicable Auction must
            contain a Purchase Price in cash, cash equivalents, or such other consideration that
            the Debtors, in consultation with the Consultation Parties, in their reasonable
            business judgment deem equivalent that exceeds the then-existing highest Bid by
            at least the amount of the Minimum Overbid.

      i.    Each Qualified Bidder will be permitted a reasonable time to respond to previous
            Bids at each Auction, as determined by the Debtors.

      j.    During the course of each Auction, the Debtors shall, after submission of each
            Overbid, promptly inform each Qualified Bidder of the terms of the previous Bids
            and inform each Qualified Bidder which Overbid(s) reflect, in the Debtors’ view,
            the highest or otherwise best Bid(s) for the applicable Assets.

      k.    Each Auction will be transcribed to ensure an accurate recording of the bidding at
            such Auction.

      l.    Each Qualified Bidder will be required to confirm on the record that it has not
            engaged, and will not engage, in any collusion with respect to the bidding or any
            Sale Transactions. This requirement does not restrict Qualified Bidder(s) from
            working with other Qualified Bidder(s) with the Debtors’ prior written consent.

      m.    Each Qualified Bidder will be required to confirm that its Bid is a good faith, bona
            fide offer and it intends to consummate the Sale Transactions if selected as the
            Successful Bid in accordance with these Bidding Procedures (as may be modified
            in accordance herewith at the applicable Auction).

      n.    Subject to each of the Debtors’ fiduciary obligations, including those explicitly set
            forth herein, the Court and the Debtors will not consider Bids made after the
            applicable Auction has been closed.

      o.    The Debtors, in their reasonable business judgment and consistent with the
            Debtors’ fiduciary obligations to maximize the value of their estates and to consider
            the interests of their stakeholders, and in consultation with the Consultation Parties,
            may reject, at any time before entry of an order of the Court approving a Successful



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                 Bid, any Bid that the Debtors determine is (i) inadequate or insufficient, (ii) not in
                 conformity with the requirements of the Bankruptcy Code, the Bidding Procedures,
                 or the terms and conditions of the Sale Transactions, (iii) contrary to the best
                 interests of the Debtors, their estates, their creditors, and other stakeholders, (iv)
                 likely to lack the support of its stakeholders in seeking Court approval thereof, or
                 (v) otherwise violative of any of the Debtors’ fiduciary obligations.

         p.      The Debtors have the right to request any additional information that will allow the
                 Debtors to make a reasonable determination as to a Qualified Bidder’s financial
                 and other capabilities to consummate the transactions contemplated by their
                 proposal and any further information that the Debtors believe is reasonably
                 necessary to clarify and evaluate any Bid made by a Qualified Bidder during the
                 applicable Auction.

         q.      The Debtors reserve the right, in their reasonable business judgment, in consultation
                 with the Consultation Parties, to adjourn any Auction one or more times to, among
                 other things, (i) facilitate discussions between the Debtors and Qualified Bidders,
                 (ii) allow Qualified Bidders to consider how they wish to proceed, and (iii) provide
                 Qualified Bidders the opportunity to provide the Debtors with such additional
                 evidence as the Debtors, in their reasonable business judgment, may require that
                 the Qualified Bidder has sufficient internal resources or has received sufficient non-
                 contingent debt and/or equity funding commitments to consummate the proposed
                 transaction at the prevailing amount.

         r.      Notwithstanding anything herein to the contrary, the Debtors may, in consultation
                 with the Consultation Parties, at any time choose to adjourn any Auction by
                 announcement at such Auction. The Debtors shall promptly file notice of such
                 adjournment with the Court.

         s.      The Debtors, in consultation with the Consultation Parties, reserve the right to
                 amend, waive, or otherwise modify the Auction Procedures at any time, including
                 without limitation, the time, place, attendance, and format of the Auctions.

         37.    Nothing in the Auction Procedures will prevent the Debtors from exercising their
 respective fiduciary duties under applicable law.

        38.     Except as otherwise determined by the Debtors, in consultation with the
 Consultation Parties, only (i) the Debtors, (ii) the Consultation Parties, (iii) the Office of the United
 States Trustee, (iv) any applicable Qualified Bidders, and (v) in each case, the respective
 representatives and professionals of the foregoing parties shall be entitled to participate in each
 Auction.

 X.      Acceptance of the Successful Bid.

         39.     Each Auction shall continue until (a) there is only one Qualified Bid or a
 combination of Qualified Bids that the Debtors determine, in their reasonable business judgment
 and in a manner consistent with the exercise of their fiduciary duties and outlined below in further
 detail, and in consultation with the Consultation Parties, is the highest or otherwise best Bid to


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 purchase the applicable Assets (each, a “Successful Bid”), and (b) the Debtors determine, in their
 reasonable business judgment, in consultation with the Consultation Parties, that further bidding
 is unlikely to result in a different Successful Bid or Successful Bids that would be reasonably
 acceptable to the Debtors, at which point, such Auction will be closed.

         40.     When determining the highest or otherwise best Qualified Bid, as compared to other
 Qualified Bids, the Debtors, in consultation with the Consultation Parties, may consider the
 following factors in addition to any other factors that the Debtors deem appropriate: (i) the amount
 and nature of the total consideration to be paid by the Qualified Bidder, which includes but is not
 limited to, assumed liabilities (including administrative liabilities and cure payments), the amount
 of executory contracts and leased locations being assumed, and the types, amounts, and timing and
 other terms of the consideration to be paid by the Qualified Bidder; (ii) the total quantity of stores
 and the percentage of stores in a particular region, if applicable, proposed to be purchased by the
 Qualified Bidder; (iii) the likelihood, as determined by the Debtors in their reasonable business
 judgement, of obtaining necessary regulatory approvals and the speed upon which such approvals
 are expected to be obtained; (iv) the likelihood of the Qualified Bidder’s ability to close a
 transaction and the timing thereof; (v) the impact of the proposed Sale Transactions contemplated
 by the Qualified Bid on the Debtors’ customers; (vi) the net economic effect of any changes to the
 value to be received by each of the Debtors’ estates from the transaction contemplated by the Bid
 Documents; (vii) whether the Qualified Bid contemplates Sale Transactions that would be
 consummated through a Plan or a sale pursuant to section 363 of the Bankruptcy Code; (viii) the
 impact of the proposed Sale Transactions contemplated by the Qualified Bid on the Debtors’
 employees; (ix) the changes, if any, to the form purchase agreement provided by the Debtors (with
 fewer changes being viewed more favorably); (x) the tax consequences of such Qualified Bid; and
 (xi) any other consideration that may impact the Debtors’ stakeholders.

         41.    Any Qualified Bidder that submits a Successful Bid will be deemed a “Successful
 Bidder” with respect to the Assets contemplated for the purchase pursuant to such Successful Bid.
 The Debtors shall file notice of the Successful Bid and the Successful Bidder with the Court as
 soon as reasonably practicable but no later than three (3) calendar days after conclusion of the
 applicable Auction. Following conclusion of the applicable Auction and selection of a Successful
 Bidder, the Debtors shall present the results of such Auction at a hearing (each, a “Sale Hearing”)
 and shall seek Court approval to enter into a binding purchase agreement with the Successful
 Bidder on the terms of the Successful Bid (the order approving such entry, the “Definitive Purchase
 Agreement Order”). The Definitive Purchase Agreement Order shall deem the Debtors’ selection
 of the Successful Bid final and the Debtors shall not solicit and /or accept any further Bids or offers
 to submit a Bid after such selection; provided that, notwithstanding anything to the contrary in
 these Bidding Procedures, nothing in these Bidding Procedures shall require the board of directors,
 board of managers, or such similar governing body of any Debtor, or any special committee of any
 board of any Debtor, to take or refrain from taking any action that the Debtors determined in good
 faith, in consultation with counsel, would be inconsistent with applicable law or its fiduciary
 obligations under applicable law.

        42.     Within one (1) business day of the selection of the Successful Bidder, such
 Successful Bidder shall, to the extent applicable under the terms of the Successful Bid, make a
 cash deposit in an amount equal to the amount set forth in the Successful Bid (less the amount of
 any Good Faith Deposit), submitted by wire transfer of immediately available funds to an escrow


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 account to be identified and established by the Debtors pursuant to a customary and reasonable
 escrow agreement. Each Successful Bidder and the Debtors shall, as soon as commercially
 reasonable and practicable, complete and sign all agreements, contracts, instruments, or other
 documents evidencing and containing the terms upon which each such Successful Bid was made.

         43.     The Debtors expressly reserve all rights and remedies with respect to (a) any
 defaulting Successful Bidder, including, without limitation, the right to seek all available damages
 and/or specific performance (b) the ability to designate any Qualified Bidder as the back-up bidder
 for any applicable Assets.

 XI.    Approval of the Sale Transactions.

         44.    Hearings to consider approval of any Sale Transactions (each, a “Sale Hearing”),
 are currently scheduled to take place (a) with respect to the Pharmacy Assets, on May 21, 2025
 and (b) with respect to the Remaining Assets, on June 25, 2025, in each case, at a time to be
 determined by the Court, or as soon thereafter as the Debtors may be heard, before the Honorable
 Chief Judge Kaplan, at the United States Bankruptcy Court for the District of New Jersey, 402
 East State Street, Courtroom 8, Trenton, New Jersey 08608 or by such other virtual or electronic
 means as determined by the Court.

         45.    At each Sale Hearing, certain findings will be sought from the Court regarding the
 Auctions, including, among other things, that: (a) the applicable Auction was conducted, and the
 Successful Bidder was selected, in accordance with the Bidding Procedures; (b) the applicable
 Auction was fair in substance and procedure; (c) any Successful Bid(s) were each a Qualified Bid
 as defined in the Bidding Procedures; and (d) consummation of any Sale Transactions as
 contemplated by the Successful Bid(s) in the applicable Auction will provide the highest or
 otherwise best offer for the applicable Assets and is in the best interests of the Debtors and their
 estates. The Sale Hearings may be continued to a later date by the Debtors, in consultation
 with the Consultation Parties, by sending notice to creditors or other parties in interest prior
 to, or making an announcement at, such Sale Hearing. No further notice of any such
 continuance will be required to be provided to any party.

         46.     In the event a transaction is consummated through a Plan, a hearing before the Court
 to consider confirmation of the Plan will be held at a date and time consistent with any order
 approving the Debtors’ disclosure statement and scheduling applicable dates and deadlines related
 thereto, including confirmation of the Plan.

         47.      Objections to the Sale Transactions, and entry of any order approving the applicable
 sale order (the “Sale Order”) must (i) be in writing and specify the nature of such objection; (ii)
 comply with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and all orders of the Court;
 and (iii) be filed with the Court and served so as to by actually received by (a) the Bid Notice
 Parties, (b) the Office of the United States Trustee for the District of New Jersey, (c) counsel to
 any official committees of unsecured creditors appointed in these chapter 11 cases, (d) the
 applicable Successful Bidder(s), if known, and (e) any other party that has filed a notice of
 appearance in these chapter 11 cases by (1) with respect to the Pharmacy Assets, May 19, 2025,




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 at 5:00 p.m. (prevailing Eastern Time) and (2) with respect to the Remaining Assets, June 24,
 2025, at 5:00 p.m. (prevailing Eastern Time).5

 XII.    Return of Good Faith Deposit.

        48.     The Good Faith Deposit(s) of the Successful Bidder or Successful Bidders, if any,
 will, upon consummation of the Successful Bid or Successful Bids, become property of the
 Debtors’ estates and be credited to the portion of such Successful Bidder’s or Successful Bidders’
 applicable Purchase Price.

        49.     If the Successful Bidder(s), if any, fails to consummate the Successful Bid(s), then
 the Good Faith Deposit(s) of such Successful Bidder(s) will be irrevocably forfeited to the Debtors
 and may be retained by the Debtors as liquidated damages, in addition to any and all rights,
 remedies, or causes of action that may be available to the Debtors, pursuant to the applicable asset
 purchase agreement.

         50.     The Good Faith Deposits of any unsuccessful Qualified Bidders will be returned
 within five (5) calendar days following the designation of one or more Successful Bidders for the
 applicable Assets.

         51.    All such deposits shall be held in escrow and at no time shall be deemed property
 of the Debtors’ estates absent further order of the Court.

 XIII. Reservation of Rights.

         52.    The Debtors, in consultation with the Consultation Parties, reserve their rights to
 modify these Bidding Procedures or to waive any provision or requirement herein in their
 reasonable business judgment and in a manner consistent with the exercise of their fiduciary duties
 in any manner that will best promote the goals of the bidding process, or impose, at or before any
 Auction, additional customary terms and conditions on the sale of the applicable Assets, including,
 without limitation: (a) extending the deadlines set forth in the Bidding Procedures; (b) adjourning
 the Auctions without further notice; (c) adding procedural rules that are reasonably necessary or
 advisable under the circumstances for conducting the Auctions; (d) canceling any Auction; (e)
 rejecting any or all Bids or Qualified Bids; and (f) adjusting the applicable Minimum Overbid
 increment.

        53.     All parties expressly reserve all of their rights (and do not waive any such rights)
 to seek Court relief with regard to the Auctions, the Bidding Procedures, the Sale Transactions,
 and any related items (including, if necessary, to seek an extension of the applicable Bid Deadline).

        54.     Each reference in these Bidding Procedures and the Bidding Procedures Order to
 “consultation” (or similar phrase) with the Consultation Parties shall mean consultation in good
 faith. All Consultation Parties will be permitted to seek relief from the Bankruptcy Court, on an
 expedited basis, if they disagree with any actions or decisions made by the Debtors as part of these

 5   To the extent the Debtors, in consultation with the Consultation Parties, reasonably determine in their business
     judgment to pursue a Sale Transaction pursuant to a Plan, a separate deadline to object to such Sale Transaction
     shall be set by order of the Court.



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 Bidding Procedures. The rights of all Consultation Parties with respect to the outcome of the
 Auctions are reserved.

 XIV. Consent to Jurisdiction.

         55.      All Qualified Bidders at any Auction will be deemed to have consented to the core
 jurisdiction of the Court and waived any right to a jury trial in connection with any disputes relating
 to the Auctions, Sales, Sale Transactions, and the construction and enforcement of these Bidding
 Procedures, the Preliminary Bid Documents, the Bids, the Bid Documents, and any and all other
 agreements entered into in connection with any proposed Sale Transaction, as applicable, and
 consented to the entry of a final order or judgment in any way related to these Bidding Procedures,
 the Bid process, the Auctions, Sale Hearings, or the construction and enforcement of any
 agreement or any other document relating to any Sale or Sale Transaction if it is determined that
 the Court would lack Article III jurisdiction to enter such a final order or judgment absent the
 consent of the parties.

        56.     Any parties raising a dispute relating to these Bidding Procedures must request that
 such dispute be heard by the Court on an expedited basis.

 XV.    Fiduciary Out.

         57.    Notwithstanding anything to the contrary in these Bidding Procedures, nothing in
 these Bidding Procedures or the Bidding Procedures Order shall require a Debtor or the board of
 directors, board of managers, or similar governing body of a Debtor, or any special committee of
 any board of any Debtor, to take any action or to refrain from taking any action related to any Sale
 Transaction or with respect to these Bidding Procedures, to the extent such Debtor, board of
 director, board of managers, or such similar governing body reasonably determines in good faith,
 in consultation with counsel, that taking or failing to take such action, as applicable, would be
 inconsistent with applicable law or its fiduciary obligations under applicable law.

         58.     Further, notwithstanding anything to the contrary in these Bidding Procedures or
 the Bidding Procedures Order, through the date of the applicable Auction (if held), nothing in these
 Bidding Procedures or the Bidding Procedures Order shall diminish the right of the Debtors and
 their respective directors, officers, employees, investment bankers, attorneys, accountants,
 consultants, and other advisors or representatives to: (a) consider, respond to, and facilitate
 alternate proposals for sales or other restructuring transactions involving the Assets (each an
 “Alternate Proposal”); (b) provide access to non-public information concerning the Debtors to any
 entity or enter into confidentiality agreements or nondisclosure agreements with any entity with
 respect to Alternative Proposals; (c) maintain or continue discussions or negotiations with respect
 to Alternate Proposals; (d) otherwise cooperate with, assist, participate in, or facilitate any
 inquiries, proposals, discussions, or negotiations of Alternate Proposals; and (e) enter into or
 continue discussions or negotiations with any person or entity regarding any Alternate Proposal.




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                                   Schedule 1

                         Auction and Sale Hearing Notice
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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 NEW RITE AID, LLC, et al.,                                    Case No. 25-14861 (MBK)

                                     Debtors.1                 (Joint Administration Requested)




                     NOTICE OF SALE BY AUCTION AND SALE HEARING

         PLEASE TAKE NOTICE that on [●], 2025, the United States Bankruptcy Court for the
 District of New Jersey (the “Court”) entered the Order (I) Approving the Auction and Bidding
 Procedures, (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving
 the Form and Manner of Notice Thereof, (IV) Establishing Notice and Procedures for the
 Assumption and Assignment of Contracts and Leases, (V) Authorizing the Assumption and
 Assignment of Assumed Contracts, (VI) Authorizing (A) the Sale of Assets and (B) Shortened
 Notice with Respect Thereto, and (VII) Granting Related Relief [Docket No. [●]]
 (the “Bidding Procedures Order”)2 in the chapter 11 cases of the above-captioned debtors and
 debtors in possession (collectively, the “Debtors”).

         PLEASE TAKE FURTHER NOTICE that the Debtors are soliciting offers for the
 purchase of substantially all or a portion of the Assets consistent with the bidding procedures
 (the “Bidding Procedures”) approved by the Court pursuant to the Bidding Procedures Order on a
 final basis with respect to the Pharmacy Assets (defined below) and on an interim basis with
 respect to the Remaining Assets (defined below). The Assets for sale include:

          a.       the Debtors’ prescription files (and related records), pharmacy inventory, and any
                   assets related to or requested to be acquired in connection with the foregoing
                   (including, without limitation, unexpired leases and other real and personal
                   property associated with the sale of any retail pharmacy locations on a going
                   concern basis) (collectively, the “Pharmacy Assets”); and

          b.       all of the Debtors’ assets that are not Pharmacy Assets, including intellectual
                   property, the Thrifty Ice Cream business and related assets, various technology and
                   software assets, including proprietary pharmacy management software (i.e.,
                   NexGen), the central prescription fill facility, other real and personal property,
                   unexpired leases, executory contracts, equipment, inventory, supplies, insurance

 1    The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
      The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
 2    Capitalized terms used but not defined in this notice have the meanings given to them in the Bidding Procedures
      Order.



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                proceeds, prepaid expenses and deposits, and books and records
                (collectively, the “Other Assets”, and together with the Pharmacy Assets,
                the “Assets”).

        PLEASE TAKE FURTHER NOTICE that all interested bidders should carefully read
 the Bidding Procedures and Bidding Procedures Order. To the extent that there are any
 inconsistencies between this notice and the Bidding Procedures or Bidding Procedures Order, the
 Bidding Procedures or Bidding Procedures Order, as applicable, shall govern in all respects.

                             Pharmacy Assets Dates And Deadlines

         PLEASE TAKE FURTHER NOTICE that all Potential Bidders that are party to a
 Confidentiality Agreement with the Debtors as of the Petition Date (the “Prepetition NDA
 Bidders”) must submit a Qualified Bid for the Pharmacy Assets in accordance with the Bidding
 Procedures so that it is actually received by May 13, 2025 at 6:00 a.m., prevailing Eastern Time
 (the “Pharmacy Assets Bid Deadline”). A Prepetition NDA Bidder will be eligible to be a
 Potential Bidder for Pharmacy Assets (including any Remaining Pharmacy Assets) if, and
 only if, such Prepetition NDA Bidder submits a Qualified Bid for such Pharmacy Assets by
 the Pharmacy Assets Bid Deadline.

         PLEASE TAKE FURTHER NOTICE that all Potential Bidders that are not party to a
 Confidentiality Agreement with the Debtors as of the Petition Date (a “Non-Prepetition NDA
 Bidder”) may be a Potential Bidder and may submit a Bid or an indication of interest for the
 Pharmacy Assets by the Pharmacy Assets Bid Deadline; provided that such Potential Bidders must
 submit a Qualified Bid by the Pharmacy Assets Bid Deadline for such Pharmacy Assets to be
 entitled to participate in the Pharmacy Assets Auction (as defined below). Non-Prepetition NDA
 Bidders that do not submit a Bid for the Pharmacy Assets by the Pharmacy Assets Bid Deadline
 shall be entitled to participate in the sale process for any remaining Pharmacy Assets not sold
 following the Pharmacy Assets Auction (the “Remaining Pharmacy Assets”, and together with the
 “Other Assets”, the “Remaining Assets”) by the deadlines set forth for the Sale of the Remaining
 Assets below.

         PLEASE TAKE FURTHER NOTICE that only Non-Prepetition NDA Bidders will be
 eligible to submit a Qualified Bid for Remaining Pharmacy Assets, if any.

        PLEASE TAKE FURTHER NOTICE that, in accordance with the Bidding Procedures,
 the Debtors may conduct an auction (the “Pharmacy Assets Auction”) of the Pharmacy Assets on
 May 14, 2025, at 9:00 a.m. (prevailing Eastern Time) by videoconference. Instructions for
 accessing the Pharmacy Auction by videoconference will be provided to the applicable Qualified
 Bidders.

        PLEASE TAKE FURTHER NOTICE that, except as otherwise determined by the
 Debtors, in consultation with the Consultation Parties, only the Debtors, the Consultation Parties,
 the U.S. Trustee, any Qualified Bidders, and, in each case, the respective representatives and
 professionals of the foregoing parties, shall be entitled to attend the Pharmacy Assets Auction, and
 only Qualified Bidders will be entitled to make Overbids at the Pharmacy Assets Auction. All




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 interested or potentially affected parties should carefully read the Bidding Procedures and
 the Bidding Procedures Order.

         PLEASE TAKE FURTHER NOTICE that the Debtors may seek approval of the Sale of
 any Pharmacy Assets at a hearing scheduled to commence on or before May 21, 2025, at a time
 to be determined by the Court, or as soon thereafter as the Debtors may be heard, before the
 Honorable Chief Judge Kaplan, at the United States Bankruptcy Court for the District of New
 Jersey, 402 East State Street, Courtroom 8, Trenton, New Jersey 08608 or by videoconference or
 such other form of remote communication established by the Court.

         PLEASE TAKE FURTHER NOTICE that, except as otherwise set forth in the Bidding
 Procedures Order, objections to consummation or approval of each Sale of the Pharmacy Assets
 must (a) be in writing; (b) conform to the applicable provisions of the Bankruptcy Rules and the
 Local Rules; (c) state with particularity the legal and factual bases for the objection and the specific
 grounds therefor; and (d) be filed with the Court and served so as to be actually received on or
 before May 19, 2025, at 5:00 p.m. (prevailing Eastern Time) by (i) the Bid Notice Parties, (ii)
 the Office of the United States Trustee for the District of New Jersey, (iii) counsel to any official
 committees of unsecured creditors appointed in these chapter 11 cases, (iv) the applicable
 Successful Bidder(s), if known, and (v) any other party that has filed a notice of appearance in
 these chapter 11 cases.

                              Remaining Assets Dates and Deadlines

         PLEASE TAKE FURTHER NOTICE that the deadline by which all non-binding
 indications of interest for the Remaining Assets must be received pursuant to the Bidding
 Procedures is May 30, 2025 at 5:00 p.m., prevailing Eastern Time.

        PLEASE TAKE FURTHER NOTICE that the deadline by which all Qualified Bids for
 the Remaining Assets must be received pursuant to the Bidding Procedures is June 13, 2025 at
 5:00 p.m., prevailing Eastern Time (the “Remaining Assets Bid Deadline”).

        PLEASE TAKE FURTHER NOTICE that, in accordance with the Bidding Procedures,
 the Debtors may conduct an auction (the “Remaining Assets Auction”) of the Remaining Assets
 on June 20, 2025, at 9:00 a.m. (prevailing Eastern Time) by videoconference. Instructions for
 accessing the Pharmacy Auction by videoconference will be provided to the Qualified Bidders.

         PLEASE TAKE FURTHER NOTICE that, except as otherwise determined by the
 Debtors, in consultation with the Consultation Parties, only the Debtors, the Consultation Parties,
 the U.S. Trustee, any Qualified Bidders, and, in each case, the respective representatives and
 professionals of the foregoing parties, shall be entitled to attend the Remaining Assets Auction,
 and only Qualified Bidders will be entitled to make Overbids at the Remaining Assets Auction.
 All interested or potentially affected parties should carefully read the Bidding Procedures
 and the Bidding Procedures Order.

        PLEASE TAKE FURTHER NOTICE that the Debtors may seek approval of the Sale of
 any Remaining Assets at a hearing scheduled to commence on or before June 25, 2025, at a time
 to be determined by the Court, or as soon thereafter as the Debtors may be heard, before the
 Honorable Chief Judge Kaplan, at the United States Bankruptcy Court for the District of New


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 Jersey, 402 East State Street, Courtroom 8, Trenton, New Jersey 08608 or by videoconference or
 such other form of remote communication established by the Court.

         PLEASE TAKE FURTHER NOTICE that, except as otherwise set forth in the Bidding
 Procedures Order, objections to consummation or approval of each Sale of the Remaining Assets
 must (a) be in writing; (b) conform to the applicable provisions of the Bankruptcy Rules and the
 Local Rules; (c) state with particularity the legal and factual bases for the objection and the specific
 grounds therefor; and (d) be filed with the Court and served so as to be actually received on or
 before June 24, 2025, at 5:00 p.m. (prevailing Eastern Time) by (i) the Bid Notice Parties, (ii)
 the Office of the United States Trustee for the District of New Jersey, (iii) counsel to any official
 committees of unsecured creditors appointed in these chapter 11 cases, (iv) the applicable
 Successful Bidder(s), if known, and (v) any other party that has filed a notice of appearance in
 these chapter 11 cases.

          CONSEQUENCES OF FAILING TO TIMELY MAKE AN OBJECTION

      ANY PARTY OR ENTITY WHO FAILS TO TIMELY MAKE AN OBJECTION TO
 THE SALE OR THE SALE TRANSACTIONS, AS APPLICABLE, ON OR BEFORE THE
 APPLICABLE SALE OBJECTION DEADLINE IN ACCORDANCE WITH THE
 BIDDING PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
 ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO THE
 TRANSFER OF THE APPLICABLE DEBTORS’ ASSETS FREE AND CLEAR OF ALL
 LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT AS MAY BE
 SET FORTH IN THE APPLICABLE PURCHASE AGREEMENT OR THE PLAN, AS
 APPLICABLE.

          PLEASE TAKE FURTHER NOTICE that copies of the Bidding Procedures, the
 Bidding Procedures Order, as well as all related exhibits, are available: (a) upon request to Kroll
 Restructuring Administration LLC (the claims, noticing, and solicitation agent retainer in these
 chapter 11 cases) by calling (888) 575-9318 (toll free) or, for international callers, +1 (646) 930-
 4577;        (b)     by       visiting    the     Debtors’        restructuring      website      at
 https://restructuring.ra.kroll.com/RiteAid2025; or (c) for a fee via PACER by visiting
 http://www.njd.uscourts.gov.


Dated: [●], 2025
                                                 /s/ DRAFT
                                                 COLE SCHOTZ P.C.
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                                                 Warren A. Usatine, Esq.
                                                 Felice R. Yudkin, Esq.
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                                    Proposed Co-Counsel to the Debtors and
                                    Debtors in Possession




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                                   Schedule 2

                           Contract Assumption Notice




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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 NEW RITE AID, LLC, et al.,                                   Case No. 25-14861 (MBK)

                                     Debtors.1                (Joint Administration Requested)



                          NOTICE OF POTENTIALLY
             ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES


                   YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
               OR ONE OF YOUR AFFILIATES ARE A COUNTERPARTY TO AN
           EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE
           OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

         PLEASE TAKE NOTICE that on [●], 2025, the United States Bankruptcy Court for the
 District of New Jersey (the “Court”) entered the Order (I) Approving the Auction and Bidding
 Procedures, (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III) Approving
 the Form and Manner of Notice Thereof, (IV) Establishing Notice and Procedures for the
 Assumption and Assignment of Contracts and Leases, (V) Authorizing the Assumption and
 Assignment of Assumed Contracts, (VI) Authorizing (A) the Sale of Assets and (B) Shortened
 Notice with Respect Thereto, and (VII) Granting Related Relief, [Docket No. [●]]
 (the “Bidding Procedures Order”)2 in the chapter 11 cases of the above-captioned debtors and
 debtors in possession (collectively, the “Debtors”).

        PLEASE TAKE FURTHER NOTICE that on [●], 2025, the Debtors conducted an
 Auction of certain of their Assets, pursuant to the Bidding Procedures Order, and thereafter filed
 Notice of Successful Bidder, declaring [●] as the successful bidder (the “Successful Bidder”) for
 the Assets.

         PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures Order,
 the applicable Sale Hearing to consider approval of the Sale Transactions to the Successful Bidder
 is currently scheduled to take place on [●], 2025, before the Honorable Chief Judge Kaplan, at the
 United States Bankruptcy Court for the District of New Jersey, 402 East State Street, Courtroom



 1    The last four digits of Debtor New Rite Aid, LLC’s tax identification number are 1843. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid2025.
      The location of Debtor New Rite Aid, LLC’s principal place of business and the Debtors’ service address in these
      chapter 11 cases is 200 Newberry Commons, Etters, Pennsylvania 17319.
 2    Capitalized terms used but not defined in this notice have the meanings given to them in the Bidding Procedures
      Order.
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 8, Trenton, New Jersey 08608 or by videoconference or such other form of remote communication
 established by the Court.

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures and the
 terms of any Successful Bid, the Debtors may assume and assign to the Successful Bidder the
 contract(s) or agreement(s) listed on Exhibit A to which you are a counterparty, upon approval of
 the Sale Transactions. The Debtors have conducted a review of their books and records and have
 determined that the Cure Payments for unpaid monetary obligations under such Contract(s) is as
 set forth on Exhibit A.

         PLEASE TAKE FURTHER NOTICE that if you disagree with the proposed Cure
 Payments, object to a proposed assignment to the Successful Bidder of any Contract, or dispute
 the ability of the Successful Bidder to provide adequate assurance of future performance with
 respect to any Contract, or otherwise object to the applicable Sale Transaction, your objection
 must: (a) be in writing; (b) comply with the applicable provisions of the Bankruptcy Rules, Local
 Bankruptcy Rules, and any order governing the administration of these chapter 11 cases; (c) state
 with specificity the nature of the objection and, if the objection pertains to the proposed Cure
 Payments, state the correct Cure Payments alleged to be owed to the objecting contract
 counterparty, together with any applicable and appropriate documentation in support thereof; and
 (d) be filed with the Court and served and actually received no later than [●], 2025 at 5:00 p.m.
 (prevailing Eastern Time) (the “Objection Deadline”) by (i) the Bid Notice Parties, (ii) the
 Office of the United States Trustee for the District of New Jersey, (iii) counsel to any official
 committees of unsecured creditors appointed in these chapter 11 cases, (iv) the applicable
 Successful Bidder(s), if known, and (v) any other party that has filed a notice of appearance in
 these chapter 11 cases.

         PLEASE TAKE FURTHER NOTICE that if no objection to (a) the Cure Payments, (b)
 the proposed assignment and assumption of any Contract, or (c) adequate assurance of the
 Successful Bidder’s ability to perform is filed by the applicable Objection Deadline, then (i) you
 will be deemed to have stipulated that the Cure Payments as determined by the Debtors are correct,
 (ii) you will be forever barred, estopped, and enjoined from asserting any additional Cure
 Payments are due under the Contract, and (iii) you will be forever barred, estopped, and enjoined
 from objecting to such proposed assignment to the Successful Bidder on the grounds that the
 Successful Bidder has not provided adequate assurance of future performance as of the closing
 date of the Sale Transactions.

        PLEASE TAKE FURTHER NOTICE that any objection to the proposed assumption
 and assignment of a Contract or related Cure Payments in connection with the Successful Bid that
 otherwise complies with these procedures yet remains unresolved as of the commencement of the
 Sale Hearing, shall be heard at a later date as may be fixed by the Court.

         PLEASE THAT FURTHER NOTICE that, notwithstanding anything herein, the mere
 listing of any Contract on this Contract Assumption Notice or any Supplemental Assumption
 Notice does not require or guarantee that such Contract will be assumed by the Debtors at any time
 or assumed and assigned, and all rights of the Debtors and the Successful Bidder with respect to
 such Contracts are reserved. Moreover, the Debtors explicitly reserve the right, in their reasonable
 discretion, to seek to reject or assume each Contract pursuant to section 365(a) of the Bankruptcy


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 Code and in accordance with the procedures allowing the Debtors and/or the Successful Bidder,
 as applicable, to designate any Contract as either rejected or assumed on a post-closing basis.

         PLEASE TAKE FURTHER NOTICE that, nothing herein (a) alters in any way the
 prepetition nature of the Contracts or the validity, priority, or amount of any claims of a
 counterparty to any Contract against the Debtors that may arise under such Contract, (b) creates a
 postpetition contract or agreement, or (c) elevates to administrative expense priority any claims of
 a counterparty to any Contract against the Debtors that may arise under such Contract.

          PLEASE TAKE FURTHER NOTICE that copies of the Bidding Procedures, the
 Bidding Procedures Order, as well as all related exhibits, are available: (a) upon request to Kroll
 Restructuring Administration LLC (the claims, noticing, and solicitation agent retainer in these
 chapter 11 cases) by calling (888) 575-9318 (toll free) or, for international callers, +1 (646) 930-
 4577;        (b)     by       visiting    the     Debtors’        restructuring      website      at
 https://restructuring.ra.kroll.com/RiteAid2025; or (c) for a fee via PACER by visiting
 http://www.njd.uscourts.gov.

Dated: [●], 2025
                                               /s/ DRAFT
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                                               Proposed Co-Counsel to the Debtors and
                                               Debtors in Possession



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                                   Exhibit A
